Filed 04/11/19                                                             Case 19-22253                                                                    Doc 1

  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                        Chapter you are filing under:

                                                                                   Chapter 7
                                                                                   Chapter 11
                                                                                   Chapter 12
                                                                                   Chapter 13                                        Check if this an
                                                                                                                                     amended filing




 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                12/17
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
 case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
 would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
 between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
 all of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
 more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
 every question.


  Part 1:   Identify Yourself

                                     About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

  1.   Your full name

       Write the name that is on     Jarett                                                           Rahni
       your government-issued        First name                                                       First name
       picture identification (for
       example, your driver's        Maurice                                                          Mon'a
       license or passport).         Middle name                                                      Middle name
       Bring your picture
       identification to your
                                     Clark                                                            Clark
       meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




  2.   All other names you have
       used in the last 8 years                                                                       FKA Rahni Mon'a Lancaster
       Include your married or
       maiden names.



  3.   Only the last 4 digits of
       your Social Security
       number or federal             xxx-xx-4771                                                      xxx-xx-6674
       Individual Taxpayer
       Identification number
       (ITIN)




 Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
Filed 04/11/19                                                          Case 19-22253                                                                            Doc 1
  Debtor 1   Jarett Maurice Clark
  Debtor 2   Rahni Mon'a Clark                                                                          Case number (if known)




                                   About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

  4.   Any business names and
       Employer Identification
       Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
       used in the last 8 years

       Include trade names and     Business name(s)                                              Business name(s)
       doing business as names

                                   EINs                                                          EINs




  5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                   12743 Thornberg Way
                                   Rancho Cordova, CA 95742
                                   Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                   Sacramento
                                   County                                                        County

                                   If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                   above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                   notices to you at this mailing address.                       mailing address.

                                   P.O. Box 1021
                                   Elk Grove, CA 95759
                                   Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




  6.   Why you are choosing        Check one:                                                    Check one:
       this district to file for
       bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                          I have lived in this district longer than in any               have lived in this district longer than in any other
                                          other district.                                                district.

                                          I have another reason.                                         I have another reason.
                                          Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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  Debtor 1    Jarett Maurice Clark
  Debtor 2    Rahni Mon'a Clark                                                                             Case number (if known)



  Part 2:    Tell the Court About Your Bankruptcy Case

  7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
       Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       choosing to file under
                                   Chapter 7
                                       Chapter 11
                                       Chapter 12
                                       Chapter 13



  8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                           about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                           order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                           a pre-printed address.
                                           I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                           The Filing Fee in Installments (Official Form 103A).
                                           I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                           but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                           applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                           the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



  9.   Have you filed for             No.
       bankruptcy within the
       last 8 years?                  Yes.
                                                District                                  When                            Case number
                                                District                                  When                            Case number
                                                District                                  When                            Case number



  10. Are any bankruptcy              No
      cases pending or being
      filed by a spouse who is        Yes.
      not filing this case with
      you, or by a business
      partner, or by an
      affiliate?
                                                Debtor                                                                   Relationship to you
                                                District                                  When                           Case number, if known
                                                Debtor                                                                   Relationship to you
                                                District                                  When                           Case number, if known



  11. Do you rent your                No.        Go to line 12.
      residence?
                                      Yes.       Has your landlord obtained an eviction judgment against you?

                                                           No. Go to line 12.

                                                           Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                           bankruptcy petition.




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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  Debtor 1    Jarett Maurice Clark
  Debtor 2    Rahni Mon'a Clark                                                                              Case number (if known)



  Part 3:    Report About Any Businesses You Own as a Sole Proprietor

  12. Are you a sole proprietor
      of any full- or part-time         No.      Go to Part 4.
      business?
                                        Yes.     Name and location of business
       A sole proprietorship is a
       business you operate as                   Name of business, if any
       an individual, and is not a
       separate legal entity such
       as a corporation,
       partnership, or LLC.
                                                 Number, Street, City, State & ZIP Code
       If you have more than one
       sole proprietorship, use a
       separate sheet and attach
       it to this petition.                      Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

  13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
      Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
      you a small business           in 11 U.S.C. 1116(1)(B).
      debtor?
                                        No.      I am not filing under Chapter 11.
       For a definition of small
       business debtor, see 11
                                        No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
       U.S.C. § 101(51D).
                                                 Code.

                                        Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


  Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

  14. Do you own or have any            No.
      property that poses or is
      alleged to pose a threat          Yes.
      of imminent and                          What is the hazard?
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                      If immediate attention is
      immediate attention?                     needed, why is it needed?

       For example, do you own
       perishable goods, or
       livestock that must be fed,             Where is the property?
       or a building that needs
       urgent repairs?
                                                                             Number, Street, City, State & Zip Code




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
Filed 04/11/19                                                             Case 19-22253                                                                         Doc 1
  Debtor 1    Jarett Maurice Clark
  Debtor 2    Rahni Mon'a Clark                                                                          Case number (if known)

  Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                       About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
  15. Tell the court whether           You must check one:                                           You must check one:
      you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
      briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
      counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                           certificate of completion.                                    completion.
       The law requires that you
       receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
       credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
       you file for bankruptcy.
       You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
       one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
       choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
       so, you are not eligible to         a certificate of completion.                                  of completion.
       file.
                                           Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
       If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
       can dismiss your case, you          payment plan, if any.                                         any.
       will lose whatever filing fee
       you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
       creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
       collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                           days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                           circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                           of the requirement.
                                                                                                         To ask for a 30-day temporary waiver of the requirement,
                                           To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                           requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                           what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                           you were unable to obtain it before you filed for             circumstances required you to file this case.
                                           bankruptcy, and what exigent circumstances
                                           required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                         with your reasons for not receiving a briefing before you
                                           Your case may be dismissed if the court is                    filed for bankruptcy.
                                           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                           If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                           still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                           You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                           agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                           developed, if any. If you do not do so, your case
                                                                                                         Any extension of the 30-day deadline is granted only for
                                           may be dismissed.
                                                                                                         cause and is limited to a maximum of 15 days.
                                           Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15
                                           days.
                                           I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                           credit counseling because of:                                 counseling because of:

                                                 Incapacity.                                                  Incapacity.
                                                 I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                                 that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                                 making rational decisions about finances.                    decisions about finances.

                                                 Disability.                                                  Disability.
                                                 My physical disability causes me to be                       My physical disability causes me to be unable to
                                                 unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                                 by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                                 reasonably tried to do so.                                   do so.

                                                 Active duty.                                                 Active duty.
                                                 I am currently on active military duty in a                  I am currently on active military duty in a military
                                                 military combat zone.                                        combat zone.
                                           If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                           briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                           motion for waiver credit counseling with the court.           of credit counseling with the court.




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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  Debtor 1    Jarett Maurice Clark
  Debtor 2    Rahni Mon'a Clark                                                                             Case number (if known)

  Part 6:    Answer These Questions for Reporting Purposes

  16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
      you have?                              individual primarily for a personal, family, or household purpose.”
                                                 No. Go to line 16b.

                                                 Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                                 No. Go to line 16c.
                                                 Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



  17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
      Chapter 7?

       Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
       after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
       property is excluded and
       administrative expenses                   No
       are paid that funds will
       be available for                          Yes
       distribution to unsecured
       creditors?

  18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
      you estimate that you                                                            5001-10,000                                   50,001-100,000
      owe?                            50-99
                                      100-199                                          10,001-25,000                                 More than100,000
                                      200-999

  19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
      estimate your assets to                                                          $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
      be worth?                       $50,001 - $100,000
                                      $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


  20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
      estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
      to be?
                                      $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


  Part 7:    Sign Below

  For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                   United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                   document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                   bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                   and 3571.
                                   /s/ Jarett Maurice Clark                                          /s/ Rahni Mon'a Clark
                                   Jarett Maurice Clark                                              Rahni Mon'a Clark
                                   Signature of Debtor 1                                             Signature of Debtor 2

                                   Executed on     April 11, 2019                                    Executed on     April 11, 2019
                                                   MM / DD / YYYY                                                    MM / DD / YYYY




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
Filed 04/11/19                                                             Case 19-22253                                                                         Doc 1
  Debtor 1   Jarett Maurice Clark
  Debtor 2   Rahni Mon'a Clark                                                                              Case number (if known)




  For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
  represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                  for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
  If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
  an attorney, you do not need    schedules filed with the petition is incorrect.
  to file this page.
                                  /s/ Ashley R. Amerio                                               Date         April 11, 2019
                                  Signature of Attorney for Debtor                                                MM / DD / YYYY

                                  Ashley R. Amerio
                                  Printed name

                                  Amerio Law Firm, PC
                                  Firm name

                                  1640 Lead Hill Blvd, Suite 220
                                  Roseville, CA 95661
                                  Number, Street, City, State & ZIP Code

                                  Contact phone     916 419-1111                               Email address         bankruptcy@ameriolaw.com
                                  230469 CA
                                  Bar number & State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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                                                          Certificate Number: 17572-CAE-CC-032523980


                                                                         17572-CAE-CC-032523980




                               CERTIFICATE OF COUNSELING

           I CERTIFY that on March 29, 2019, at 3:15 o'clock PM PDT, Jarett M Clark
           received from Dollar Learning Foundation, Inc., an agency approved pursuant to
           11 U.S.C. § 111 to provide credit counseling in the Eastern District of California,
           an individual [or group] briefing that complied with the provisions of 11 U.S.C.
           §§ 109(h) and 111.
           A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
           copy of the debt repayment plan is attached to this certificate.
           This counseling session was conducted by internet.




           Date:   March 29, 2019                         By:      /s/Hector Colon


                                                          Name: Hector Colon


                                                          Title:   Counselor




           * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
           Code are required to file with the United States Bankruptcy Court a completed certificate of
           counseling from the nonprofit budget and credit counseling agency that provided the individual
           the counseling services and a copy of the debt repayment plan, if any, developed through the
           credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
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                                                          Certificate Number: 17572-CAE-CC-032523640


                                                                         17572-CAE-CC-032523640




                               CERTIFICATE OF COUNSELING

           I CERTIFY that on March 29, 2019, at 2:14 o'clock PM PDT, Rahni M Clark
           received from Dollar Learning Foundation, Inc., an agency approved pursuant to
           11 U.S.C. § 111 to provide credit counseling in the Eastern District of California,
           an individual [or group] briefing that complied with the provisions of 11 U.S.C.
           §§ 109(h) and 111.
           A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
           copy of the debt repayment plan is attached to this certificate.
           This counseling session was conducted by internet.




           Date:   March 29, 2019                         By:      /s/Ani Polat


                                                          Name: Ani Polat


                                                          Title:   Counselor




           * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
           Code are required to file with the United States Bankruptcy Court a completed certificate of
           counseling from the nonprofit budget and credit counseling agency that provided the individual
           the counseling services and a copy of the debt repayment plan, if any, developed through the
           credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
Filed 04/11/19                                                                           Case 19-22253                                                                                            Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Jarett Maurice Clark
                                First Name                           Middle Name                          Last Name

     Debtor 2                   Rahni Mon'a Clark
     (Spouse if, filing)        First Name                           Middle Name                          Last Name


     United States Bankruptcy Court for the:                  EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                      amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              72,808.55

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              72,808.55

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              22,037.58

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                2,532.00

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             133,888.15


                                                                                                                                         Your total liabilities $               158,457.73


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 of Schedule I................................................................................             $                6,994.82

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                8,688.59

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
                 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

               Yes
     7.     What kind of debt do you have?

                    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                    household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
     Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
    Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
Filed 04/11/19                                                             Case 19-22253                                                                     Doc 1
     Debtor 1      Jarett Maurice Clark
     Debtor 2      Rahni Mon'a Clark                                                          Case number (if known)

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $       9,376.98


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
           From Part 4 on Schedule E/F, copy the following:

           9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $             2,532.00

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

           9d. Student loans. (Copy line 6f.)                                                                 $            19,176.00

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                               $                 0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


           9g. Total. Add lines 9a through 9f.                                                           $             21,708.00




    Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
    Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
Filed 04/11/19                                                                        Case 19-22253                                                                       Doc 1
     Fill in this information to identify your case and this filing:

     Debtor 1                   Jarett Maurice Clark
                                First Name                      Middle Name                       Last Name

     Debtor 2                   Rahni Mon'a Clark
     (Spouse, if filing)        First Name                      Middle Name                       Last Name


     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing



    Official Form 106A/B
    Schedule A/B: Property                                                                                                                          12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
    think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
    Answer every question.

     Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

            No. Go to Part 2.
            Yes. Where is the property?

     Part 2: Describe Your Vehicles

    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

    3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

            No
            Yes


      3.1      Make:       Ford                                    Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
               Model:      Flex SEL                                      Debtor 1 only                                Creditors Who Have Claims Secured by Property.
               Year:       2011                                          Debtor 2 only
                                                                                                                      Current value of the      Current value of the
               Approximate mileage:              125,059                 Debtor 1 and Debtor 2 only                   entire property?          portion you own?
               Other information:                                        At least one of the debtors and another
              (fair condition, per kbb.com)
                                                                         Check if this is community property                   $9,024.00                    $9,024.00
                                                                         (see instructions)



      3.2      Make:    Chevrolet                                  Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
               Model:   Malibu LT Sedan 4D                               Debtor 1 only                                Creditors Who Have Claims Secured by Property.
               Year:    2010                                             Debtor 2 only
                                                                                                                      Current value of the      Current value of the
               Approximate mileage:    145,618                           Debtor 1 and Debtor 2 only                   entire property?          portion you own?
               Other information:                                        At least one of the debtors and another
              (Good condition, value per
              kbb.com)                                                   Check if this is community property                   $4,378.00                    $4,378.00
                                                                         (see instructions)




    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

            No
            Yes



    Official Form 106A/B                                                         Schedule A/B: Property                                                           page 1
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     Debtor 1       Jarett Maurice Clark
     Debtor 2       Rahni Mon'a Clark                                                                                   Case number (if known)


     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
       .pages you have attached for Part 2. Write that number here.............................................................................=>          $13,402.00


     Part 3: Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
    6. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
         No
            Yes. Describe.....

                                        Misc. Household items
                                        (No single item valued at more than $675.00)
                                        (2 couches, 10 end tables, 14 lamps, dining table with 4 chairs, 10
                                        pots/pans/dishes, 10 small kitchen appliances, freezer, 4 beds, 4
                                        dressers, 10 hand/power tools)                                                                                           $2,720.00


    7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                  including cell phones, cameras, media players, games
          No
            Yes. Describe.....

                                        3 TVs, 1 Stereo & 1 Tablet/Pad
                                        (No single item valued at more than $675.00)                                                                               $700.00


    8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                   other collections, memorabilia, collectibles
          No
            Yes. Describe.....

                                        Video games collection                                                                                                     $750.00


    9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                 musical instruments
         No
            Yes. Describe.....

                                        3 bicycles                                                                                                                 $200.00


    10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe.....

    11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
          No
            Yes. Describe.....

                                        Clothing                                                                                                                 $2,000.00




    Official Form 106A/B                                                   Schedule A/B: Property                                                                      page 2
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     Debtor 1         Jarett Maurice Clark
     Debtor 2         Rahni Mon'a Clark                                                                                           Case number (if known)

    12. Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
            No
            Yes. Describe.....

    13. Non-farm animals
        Examples: Dogs, cats, birds, horses
         No
            Yes. Describe.....

                                                1 Male Dog, 2/yr, Minature English Bulldog,                                                                             $1,000.00


    14. Any other personal and household items you did not already list, including any health aids you did not list
         No
            Yes. Give specific information.....

                                                Health Aids
                                                (Insulin Pump, CPAP Machine, Glucometer, Crutches, Wheelchair,
                                                Prosthesis, Stairlift, Shower Chair, Toilet Chair)                                                                    $37,080.00



     15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here ..............................................................................                                        $44,450.00


     Part 4: Describe Your Financial Assets
     Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

    16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
         No
            Yes................................................................................................................

                                                                                                                                     Cash on Hand
                                                                                                                                     (Up to the
                                                                                                                                     amount listed)                         $50.00


    17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                      institutions. If you have multiple accounts with the same institution, list each.
         No
         Yes........................                                     Institution name:

                                                                                                      E*Trade Financial, Checking accnt;...5892
                                                  17.1.                                               (Up to the amount listed)                                           $953.67



                                                  17.2.                                               E*Stock brokerage account...1309                                    $120.00


    18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts
         No
         Yes..................        Institution or issuer name:


                                                            ESPP stock through employer                                                                                       $0.00


    Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 3
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Filed 04/11/19                                                               Case 19-22253                                                                      Doc 1
     Debtor 1        Jarett Maurice Clark
     Debtor 2        Rahni Mon'a Clark                                                                       Case number (if known)

    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
        joint venture
            No
            Yes. Give specific information about them...................
                                       Name of entity:                                                        % of ownership:

    20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
            No
            Yes. Give specific information about them
                                        Issuer name:

    21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
         No
            Yes. List each account separately.
                                    Type of account:                         Institution name:

                                                                             401k Plan through Empower Retirement
                                                                             (Excluded from estate pursuant to 11 U.S.C.
                                                                             541(c))
                                                                             Outstanding loan balance in amount of
                                                                             $8,249.56                                                             $8,937.88


                                                                             403(b) Plan though employer
                                                                             (Excluded from estate pursuant to 11 U.S.C.
                                                                             541(c))
                                                                             Outstanding loan balance in amount of $                                     $0.00


    22. Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
          No
          Yes. .....................                              Institution name or individual:


                                                                             Deposits with Landlord                                                $2,000.00


    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
            No
            Yes.............        Issuer name and description.

    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
            No
            Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
            No
            Yes. Give specific information about them...

    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
            No
            Yes. Give specific information about them...

    27. Licenses, franchises, and other general intangibles
         Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
            No
            Yes. Give specific information about them...

    Official Form 106A/B                                                 Schedule A/B: Property                                                          page 4
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     Debtor 1       Jarett Maurice Clark
     Debtor 2       Rahni Mon'a Clark                                                                      Case number (if known)

     Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

    28. Tax refunds owed to you
          No
            Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                             Combined income tax refunds for 2018
                                                                **Debtors will owe                                                                          $0.00


    29. Family support
         Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information......


    30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
                  benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information..

    31. Interests in insurance policies
         Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
          No
            Yes. Name the insurance company of each policy and list its value.
                                     Company name:                                                Beneficiary:                           Surrender or refund
                                                                                                                                         value:

                                             Term life insurance through employer
                                             No cash surrender value
                                             Beneficiary: Debtor's Children                                                                                 $0.00


    32. Any interest in property that is due you from someone who has died
        If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
        someone has died.
            No
            Yes. Give specific information..


    33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue
          No
            Yes. Describe each claim.........

                                                          Wages withheld by creditor, Lobel Financial;
                                                          up to 90 days prior to filing                                                               $2,895.00


    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
            No
            Yes. Describe each claim.........

    35. Any financial assets you did not already list
            No
            Yes. Give specific information..




    Official Form 106A/B                                                 Schedule A/B: Property                                                             page 5
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Filed 04/11/19                                                                                Case 19-22253                                                                                Doc 1
     Debtor 1         Jarett Maurice Clark
     Debtor 2         Rahni Mon'a Clark                                                                                                     Case number (if known)

     36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
         for Part 4. Write that number here.....................................................................................................................         $14,956.55


     Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

    37. Do you own or have any legal or equitable interest in any business-related property?
           No. Go to Part 6.
           Yes. Go to line 38.



     Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


     Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


    53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership
            No
            Yes. Give specific information.........


     54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                  $0.00

     Part 8:         List the Totals of Each Part of this Form

     55. Part 1: Total real estate, line 2 ......................................................................................................................                  $0.00
     56. Part 2: Total vehicles, line 5                                                                           $13,402.00
     57. Part 3: Total personal and household items, line 15                                                      $44,450.00
     58. Part 4: Total financial assets, line 36                                                                  $14,956.55
     59. Part 5: Total business-related property, line 45                                                              $0.00
     60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
     61. Part 7: Total other property not listed, line 54                                             +                $0.00

     62. Total personal property. Add lines 56 through 61...                                                      $72,808.55              Copy personal property total      $72,808.55

     63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $72,808.55




    Official Form 106A/B                                                               Schedule A/B: Property                                                                       page 6
    Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
Filed 04/11/19                                                                  Case 19-22253                                                                              Doc 1
     Fill in this information to identify your case:

     Debtor 1                 Jarett Maurice Clark
                              First Name                        Middle Name                 Last Name

     Debtor 2                 Rahni Mon'a Clark
     (Spouse if, filing)      First Name                        Middle Name                 Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                               Check if this is an
                                                                                                                                              amended filing


    Official Form 106C
    Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
    the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
    needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
    case number (if known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
    any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
    funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
    exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
    to the applicable statutory amount.

     Part 1:        Identify the Property You Claim as Exempt

     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

               You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

               You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
          Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property                    portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

          Misc. Household items                                           $2,720.00                                  $2,720.00     C.C.P. § 703.140(b)(3)
          (No single item valued at more than
          $675.00)                                                                             100% of fair market value, up to
          (2 couches, 10 end tables, 14 lamps,                                                 any applicable statutory limit
          dining table with 4 chairs, 10
          pots/pans/dishes, 10 small kitchen
          appliances, freezer, 4 beds, 4
          dressers, 10 hand/power tools)
          Line from Schedule A/B: 6.1

          3 TVs, 1 Stereo & 1 Tablet/Pad                                      $700.00                                  $700.00     C.C.P. § 703.140(b)(3)
          (No single item valued at more than
          $675.00)                                                                             100% of fair market value, up to
          Line from Schedule A/B: 7.1                                                          any applicable statutory limit

          Video games collection                                              $750.00                                  $750.00     C.C.P. § 703.140(b)(3)
          Line from Schedule A/B: 8.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

          3 bicycles                                                          $200.00                                  $200.00     C.C.P. § 703.140(b)(5)
          Line from Schedule A/B: 9.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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Filed 04/11/19                                                                  Case 19-22253                                                                                Doc 1
     Debtor 1    Jarett Maurice Clark
     Debtor 2    Rahni Mon'a Clark                                                                           Case number (if known)

         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         Clothing                                                         $2,000.00                                  $2,000.00        C.C.P. § 703.140(b)(3)
         Line from Schedule A/B: 11.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         1 Male Dog, 2/yr, Minature English                               $1,000.00                                  $1,000.00        C.C.P. § 703.140(b)(3)
         Bulldog,
         Line from Schedule A/B: 13.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

         Health Aids                                                     $37,080.00                                $37,080.00         C.C.P. § 703.140(b)(9)
         (Insulin Pump, CPAP Machine,
         Glucometer, Crutches, Wheelchair,                                                     100% of fair market value, up to
         Prosthesis, Stairlift, Shower Chair,                                                  any applicable statutory limit
         Toilet Chair)
         Line from Schedule A/B: 14.1

         Cash on Hand                                                         $50.00                                    $50.00        C.C.P. § 703.140(b)(5)
         (Up to the amount listed)
         Line from Schedule A/B: 16.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

         E*Trade Financial, Checking                                         $953.67                                   $953.67        C.C.P. § 703.140(b)(5)
         accnt;...5892
         (Up to the amount listed)                                                             100% of fair market value, up to
         Line from Schedule A/B: 17.1                                                          any applicable statutory limit

         E*Stock brokerage account...1309                                    $120.00                                   $120.00        C.C.P. § 703.140(b)(5)
         Line from Schedule A/B: 17.2
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         401k Plan through Empower                                        $8,937.88                                  $1,766.80        C.C.P. § 703.140(b)(10)(E)
         Retirement
         (Excluded from estate pursuant to 11                                                  100% of fair market value, up to
         U.S.C. 541(c))                                                                        any applicable statutory limit
         Outstanding loan balance in amount
         of $8,249.56
         Line from Schedule A/B: 21.1

         Deposits with Landlord                                           $2,000.00                                  $2,000.00        C.C.P. § 703.140(b)(5)
         Line from Schedule A/B: 22.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Term life insurance through                                            $0.00                                     $0.00       C.C.P. § 703.140(b)(7)
         employer
         No cash surrender value                                                               100% of fair market value, up to
         Beneficiary: Debtor's Children                                                        any applicable statutory limit
         Line from Schedule A/B: 31.1

         Wages withheld by creditor, Lobel                                $2,895.00                                  $2,895.00        C.C.P. § 703.140(b)(5)
         Financial;
         up to 90 days prior to filing                                                         100% of fair market value, up to
         Line from Schedule A/B: 33.1                                                          any applicable statutory limit




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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     Debtor 1    Jarett Maurice Clark
     Debtor 2    Rahni Mon'a Clark                                                                 Case number (if known)

     3. Are you claiming a homestead exemption of more than $160,375?
        (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
                No
                Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                       No
                       Yes




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                            page 3 of 3
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Filed 04/11/19                                                                    Case 19-22253                                                                                     Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Jarett Maurice Clark
                                First Name                      Middle Name                      Last Name

     Debtor 2                   Rahni Mon'a Clark
     (Spouse if, filing)        First Name                      Middle Name                      Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                       Check if this is an
                                                                                                                                                      amended filing

    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
    is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
    number (if known).
    1. Do any creditors have claims secured by your property?
               No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
               Yes. Fill in all of the information below.
     Part 1:        List All Secured Claims
                                                                                                                Column A               Column B                Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
     much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                                value of collateral.   claim                   If any
     2.1     Empower Retirement                       Describe the property that secures the claim:                   $7,171.08                $8,937.88                    $0.00
             Creditor's Name                          401k Plan through Empower
                                                      Retirement
                                                      (Excluded from estate pursuant to
                                                      11 U.S.C. 541(c))
                                                      Outstanding loan balance in amount
                                                      of $8,249.56
                                                      As of the date you file, the claim is: Check all that
             PO Box 173764                            apply.
             Denver, CO 80217                             Contingent
             Number, Street, City, State & Zip Code       Unliquidated
                                                          Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
         Debtor 1 only                                    An agreement you made (such as mortgage or secured
         Debtor 2 only                                     car loan)
           Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
         At least one of the debtors and another          Judgment lien from a lawsuit
           Check if this claim relates to a               Other (including a right to offset)
           community debt

     Date debt was incurred                                    Last 4 digits of account number


     2.2     FREEWAY FUNDING INC                      Describe the property that secures the claim:                   $4,997.09                $4,378.00              $619.09
             Creditor's Name                          2010 Chevrolet Malibu LT Sedan 4D
                                                      145,618 miles
                                                      (Good condition, value per
             3601 CALLE TECATE                        kbb.com)
                                                      As of the date you file, the claim is: Check all that
             STE 20                                   apply.
             Camarillo, CA 93012                          Contingent
             Number, Street, City, State & Zip Code       Unliquidated
                                                          Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
         Debtor 1 only                                    An agreement you made (such as mortgage or secured
         Debtor 2 only                                     car loan)
           Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
         At least one of the debtors and another          Judgment lien from a lawsuit


    Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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Filed 04/11/19                                                                       Case 19-22253                                                                          Doc 1

     Debtor 1 Jarett Maurice Clark                                                                                Case number (if known)
                   First Name                  Middle Name                      Last Name
     Debtor 2 Rahni Mon'a Clark
                   First Name                  Middle Name                      Last Name


           Check if this claim relates to a                  Other (including a right to offset)
           community debt

     Date debt was incurred          2018                        Last 4 digits of account number         4175

             Southern Hills
     2.3                                                                                                                   $9,869.41          $9,024.00          $845.41
             Acceptance                                 Describe the property that secures the claim:
             Creditor's Name                            2011 Ford Flex SEL 125,059 miles
                                                        (fair condition, per kbb.com)
                                                        As of the date you file, the claim is: Check all that
             PO BOX 25570                               apply.
             Santa Ana, CA 92799                             Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)

           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)   Auto Loan
           community debt

     Date debt was incurred          3/2018                      Last 4 digits of account number         4771


       Add the dollar value of your entries in Column A on this page. Write that number here:                                    $22,037.58
       If this is the last page of your form, add the dollar value totals from all pages.
       Write that number here:                                                                                                   $22,037.58

     Part 2:     List Others to Be Notified for a Debt That You Already Listed
     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
     trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
     than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
     debts in Part 1, do not fill out or submit this page.




    Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2
    Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
Filed 04/11/19                                                                       Case 19-22253                                                                                     Doc 1
     Fill in this information to identify your case:

     Debtor 1                     Jarett Maurice Clark
                                  First Name                    Middle Name                        Last Name

     Debtor 2                     Rahni Mon'a Clark
     (Spouse if, filing)          First Name                    Middle Name                        Last Name


     United States Bankruptcy Court for the:                EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                            Check if this is an
                                                                                                                                                           amended filing

    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
    any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
    Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
    Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
    left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
    name and case number (if known).
     Part 1:        List All of Your PRIORITY Unsecured Claims
     1.    Do any creditors have priority unsecured claims against you?
               No. Go to Part 2.

               Yes.
     2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
           identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
           possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
           Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
           (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                            Total claim       Priority             Nonpriority
                                                                                                                                              amount               amount
     2.1          Franchise Tax Board                                    Last 4 digits of account number       axes                 $206.00              $206.00                 $0.00
                  Priority Creditor's Name
                  Bankruptcy Section MS A-340                            When was the debt incurred?
                  PO Box 2952
                  Sacramento, CA 95812-2952
                  Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                               Contingent
                  Debtor 1 only                                             Unliquidated
                  Debtor 2 only                                             Disputed
                  Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

                  At least one of the debtors and another                   Domestic support obligations

                  Check if this claim is for a community debt               Taxes and certain other debts you owe the government

            Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

                  No                                                        Other. Specify
                  Yes                                                                        2018 State Taxes




    Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 20
    Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                              46087                                           Best Case Bankruptcy
Filed 04/11/19                                                                       Case 19-22253                                                                                          Doc 1
     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                                Case number (if known)

     2.2        Internal Revenue Service                                 Last 4 digits of account number     axes                $2,326.00              $2,326.00                    $0.00
                Priority Creditor's Name
                PO Box 7346                                              When was the debt incurred?
                Philadelphia, PA 19101-7346
                Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                               Contingent
                Debtor 1 only                                               Unliquidated
                Debtor 2 only                                               Disputed
                Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

                At least one of the debtors and another                     Domestic support obligations

                Check if this claim is for a community debt                 Taxes and certain other debts you owe the government

            Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

                No                                                          Other. Specify
                Yes                                                                            2018 Fed Taxes

     Part 2:       List All of Your NONPRIORITY Unsecured Claims
     3.    Do any creditors have nonpriority unsecured claims against you?

              No. You have nothing to report in this part. Submit this form to the court with your other schedules.

              Yes.

     4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
           unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
           than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
           Part 2.
                                                                                                                                                                  Total claim

     4.1        Ashlyn Furniture                                           Last 4 digits of account number        5236                                                           $879.19
                Nonpriority Creditor's Name
                8585 Elk Grove Blvd                                        When was the debt incurred?            01/17
                Elk Grove, CA 95624
                Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                     Debtor 1 only
                                                                               Contingent
                     Debtor 2 only
                                                                               Unliquidated
                     Debtor 1 and Debtor 2 only                                Disputed
                     At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                    Check if this claim is for a community                     Student loans
                debt                                                          Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                     No                                                        Debts to pension or profit-sharing plans, and other similar debts

                     Yes                                                       Other. Specify   Furniture Loan




    Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 20
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Filed 04/11/19                                                                    Case 19-22253                                                                               Doc 1
     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                              Case number (if known)

     4.2      AWA Collections                                            Last 4 digits of account number       0169                                             $8,404.00
              Nonpriority Creditor's Name
              PO Box 6605                                                When was the debt incurred?           06/15
              Orange, CA 92863
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for Two Jinn, Inc


     4.3      BBVA                                                       Last 4 digits of account number       6527                                               $668.64
              Nonpriority Creditor's Name
              P.O. Box 830606                                            When was the debt incurred?           10/16
              Birmingham, AL 35283
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card


     4.4      California Auto Finance                                    Last 4 digits of account number       6507                                           $15,622.00
              Nonpriority Creditor's Name
              5255 E. Hunter Ave                                         When was the debt incurred?           03/13
              Anaheim, CA 92807
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Auto Loan Deficiency Balance




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 20
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Filed 04/11/19                                                                    Case 19-22253                                                                               Doc 1
     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                              Case number (if known)

     4.5      CBE Group                                                  Last 4 digits of account number       7672                                               $203.00
              Nonpriority Creditor's Name
              1309 Technology Pkwy                                       When was the debt incurred?           01/16
              Cedar Falls, IA 50613
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for PG&E


     4.6      CBE Group                                                  Last 4 digits of account number       1176                                               $149.00
              Nonpriority Creditor's Name
              1309 Technology Pkwy                                       When was the debt incurred?           01/15
              Cedar Falls, IA 50613
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for PG&E


     4.7      Consolidated Communications                                Last 4 digits of account number       2320                                               $182.51
              Nonpriority Creditor's Name
              PO Box 619969                                              When was the debt incurred?           02/17
              Roseville, CA 95661
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collections




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 20
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Filed 04/11/19                                                                    Case 19-22253                                                                               Doc 1
     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                              Case number (if known)

     4.8      CORNERSTONE/DEPT OF E                                      Last 4 digits of account number       0001                                             $3,500.00
              Nonpriority Creditor's Name
              PO BOX 61047                                               When was the debt incurred?           03/16
              Harrisburg, PA 17106
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify
                                                                                             Student Loan
     4.9      CORNERSTONE/DEPT OF E                                      Last 4 digits of account number       0003                                             $3,000.00
              Nonpriority Creditor's Name
              PO BOX 61047                                               When was the debt incurred?           11/16
              Harrisburg, PA 17106
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify
                                                                                             Student Loan
     4.1
     0        CORNERSTONE/DEPT OF E                                      Last 4 digits of account number       0002                                             $6,000.00
              Nonpriority Creditor's Name
              PO BOX 61047                                               When was the debt incurred?           03/16
              Harrisburg, PA 17106
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify
                                                                                             Student Loan




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 20
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Filed 04/11/19                                                                    Case 19-22253                                                                               Doc 1
     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                              Case number (if known)

     4.1
     1        CORNERSTONE/DEPT OF E                                      Last 4 digits of account number       0004                                             $4,000.00
              Nonpriority Creditor's Name
              PO BOX 61047                                               When was the debt incurred?           11/16
              Harrisburg, PA 17106
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify
                                                                                             Student Loan
     4.1
     2        Credit Control Service                                     Last 4 digits of account number       0799                                               $135.00
              Nonpriority Creditor's Name
              725 CANTON ST                                              When was the debt incurred?           04/14
              Norwood, MA 02062
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for Progressive


     4.1
     3        Dept of ED/Navient                                         Last 4 digits of account number       0410                                             $1,800.00
              Nonpriority Creditor's Name
              PO BOX 9635                                                When was the debt incurred?           04/14
              Wilkes Barre, PA 18773
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify
                                                                                             Student Loan




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 20
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Filed 04/11/19                                                                    Case 19-22253                                                                               Doc 1
     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                              Case number (if known)

     4.1
     4        Dept of ED/Navient                                         Last 4 digits of account number       1208                                               $876.00
              Nonpriority Creditor's Name
              PO BOX 9635                                                When was the debt incurred?           12/16
              Wilkes Barre, PA 18773
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify
                                                                                             Student Loan
     4.1
     5        Dept of ED/Navient                                         Last 4 digits of account number       1208                                             $3,895.00
              Nonpriority Creditor's Name
              PO BOX 9635                                                When was the debt incurred?           12/16
              Wilkes Barre, PA 18773
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Student Loan


     4.1
     6        Dept of ED/Navient                                         Last 4 digits of account number       0410                                             $3,344.00
              Nonpriority Creditor's Name
              PO BOX 9635                                                When was the debt incurred?           04/14
              Wilkes Barre, PA 18773
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Student Loan




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 20
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Filed 04/11/19                                                                    Case 19-22253                                                                               Doc 1
     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                              Case number (if known)

     4.1
     7        Dignity Health                                             Last 4 digits of account number       7124                                             $2,076.00
              Nonpriority Creditor's Name
              PO Box 745876                                              When was the debt incurred?           07/16
              Los Angeles, CA 90076
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Medical Services in Collections


     4.1
     8        EDD State of California                                    Last 4 digits of account number       6674                                             $5,472.56
              Nonpriority Creditor's Name
              Attn: Cashier Benefit Recovery                             When was the debt incurred?           03/15
              P.O. Box 826806
              Sacramento, CA 94206
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Overpayment of Benefits


     4.1      Employment Development
     9        Department                                                 Last 4 digits of account number                                                        $3,310.00
              Nonpriority Creditor's Name
              PO Box 826806                                              When was the debt incurred?           06/2010
              Sacramento, CA 94206
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Judgment Creditor




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 20
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Filed 04/11/19                                                                    Case 19-22253                                                                               Doc 1
     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                              Case number (if known)

     4.2
     0        Enhanced Recovery                                          Last 4 digits of account number       2475                                             $2,980.00
              Nonpriority Creditor's Name
              8014 Bayberry Rd.                                          When was the debt incurred?           09/16
              Jacksonville, FL 32256
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for AT&T


     4.2
     1        Enhanced Recovery Company LLC                              Last 4 digits of account number       2813                                               $254.00
              Nonpriority Creditor's Name
              8014 Bayberry Road                                         When was the debt incurred?           04/13
              Jacksonville, FL 32256-7412
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Collection acct for Comcast Cable
                  Yes                                                       Other. Specify   Communications


     4.2
     2        First Credit Services,Inc.                                 Last 4 digits of account number       4771                                             $1,181.00
              Nonpriority Creditor's Name
              377 Hoes Lane, Suite 200                                   When was the debt incurred?           09/14
              Piscataway, NJ 08854
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collections




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Filed 04/11/19                                                                    Case 19-22253                                                                               Doc 1
     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                              Case number (if known)

     4.2
     3        First Premier Bank                                         Last 4 digits of account number       6674                                               $565.00
              Nonpriority Creditor's Name
              601 S Minnesota Ave                                        When was the debt incurred?           01/16
              Sioux Falls, SD 57104
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card


     4.2
     4        J&L Teamworks                                              Last 4 digits of account number       0967                                             $3,063.00
              Nonpriority Creditor's Name
              651 N Cherokee Ln.                                         When was the debt incurred?           04/13
              Lodi, CA 95240
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for Medical Payment Data


     4.2
     5        J&L Teamworks                                              Last 4 digits of account number       6734                                                 $98.00
              Nonpriority Creditor's Name
              651 N Cherokee Ln.                                         When was the debt incurred?           02/14
              Lodi, CA 95240
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for Medical Payment Data




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Filed 04/11/19                                                                    Case 19-22253                                                                               Doc 1
     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                              Case number (if known)

     4.2
     6        J&L Teamworks                                              Last 4 digits of account number       6736                                                 $92.00
              Nonpriority Creditor's Name
              651 N Cherokee Ln.                                         When was the debt incurred?           02/14
              Lodi, CA 95240
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for Medical Payment Data


     4.2
     7        JPMorgan Chase Bank , N.A.                                 Last 4 digits of account number       9166                                             $8,841.00
              Nonpriority Creditor's Name
              1111 Polaris Parkway                                       When was the debt incurred?           01/13
              Columbus, OH 43240
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Auto Loan Deficiency


     4.2
     8        Lobel Financial Corp.                                      Last 4 digits of account number       9778                                           $16,121.49
              Nonpriority Creditor's Name
              PO BOX 3000                                                When was the debt incurred?           2018
              Anaheim, CA 92803
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Judgment Creditor




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     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                              Case number (if known)

     4.2
     9        National Business Fact                                     Last 4 digits of account number       1237                                               $107.00
              Nonpriority Creditor's Name
              969 Mica Drive                                             When was the debt incurred?           09/14
              Carson City, NV 89705
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for Medical Payment Data


     4.3
     0        National Business Fact                                     Last 4 digits of account number       1463                                               $114.00
              Nonpriority Creditor's Name
              969 Mica Drive                                             When was the debt incurred?           09/14
              Carson City, NV 89705
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for Medical Payment Data


     4.3
     1        National Business Fact                                     Last 4 digits of account number       1265                                                 $76.00
              Nonpriority Creditor's Name
              969 Mica Drive                                             When was the debt incurred?           09/14
              Carson City, NV 89705
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for Medical Payment Data




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Filed 04/11/19                                                                    Case 19-22253                                                                               Doc 1
     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                              Case number (if known)

     4.3
     2        National Business Fact                                     Last 4 digits of account number       4547                                             $1,546.00
              Nonpriority Creditor's Name
              969 Mica Drive                                             When was the debt incurred?           12/14
              Carson City, NV 89705
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for Medical Payment Data


     4.3
     3        National Business Fact                                     Last 4 digits of account number       1515                                               $401.00
              Nonpriority Creditor's Name
              969 Mica Drive                                             When was the debt incurred?           04/14
              Carson City, NV 89705
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for Medical Payment Data


     4.3
     4        National Business Fact                                     Last 4 digits of account number       5099                                             $1,700.00
              Nonpriority Creditor's Name
              969 Mica Drive                                             When was the debt incurred?           02/14
              Carson City, NV 89705
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for Medical Payment Data




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     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                              Case number (if known)

     4.3
     5        National Business Fact                                     Last 4 digits of account number       0837                                               $730.00
              Nonpriority Creditor's Name
              969 Mica Drive                                             When was the debt incurred?           06/14
              Carson City, NV 89705
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for Medical Payment Data


     4.3
     6        National Business Fact                                     Last 4 digits of account number       0065                                               $568.00
              Nonpriority Creditor's Name
              969 Mica Drive                                             When was the debt incurred?           04/14
              Carson City, NV 89705
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for Medical Payment Data


     4.3
     7        National Business Fact                                     Last 4 digits of account number       7042                                               $288.00
              Nonpriority Creditor's Name
              969 Mica Drive                                             When was the debt incurred?           02/15
              Carson City, NV 89705
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for Medical Payment Data




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     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                              Case number (if known)

     4.3
     8        Northland Group, Inc.                                      Last 4 digits of account number       6366                                               $565.76
              Nonpriority Creditor's Name
              P.O. Box 390846                                            When was the debt incurred?           2016
              Minneapolis, MN 55439
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collections


     4.3
     9        Nowcom/Rudolph Inc.                                        Last 4 digits of account number       1581                                             $9,974.00
              Nonpriority Creditor's Name
              737 Southpoint Blvd.                                       When was the debt incurred?           09/15
              Petaluma, CA 94954
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Deficiency Balance


     4.4
     0        Pacific Credit Exchange                                    Last 4 digits of account number       2026                                             $9,297.00
              Nonpriority Creditor's Name
              15760 Ventura Blvd Ste A                                   When was the debt incurred?           10/14
              Encino, CA 91436
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for California Auto Finance




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     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                              Case number (if known)

     4.4
     1        Sutter Health                                              Last 4 digits of account number       0018                                               $688.00
              Nonpriority Creditor's Name
              PO Box 255228                                              When was the debt incurred?           12/16
              Sacramento, CA 95865
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Medical Services


     4.4
     2        Titan Revenue Solution                                     Last 4 digits of account number       3909                                             $8,150.00
              Nonpriority Creditor's Name
              942 Enterprise Drive - Ste C                               When was the debt incurred?           06/13
              Sacramento, CA 95825
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for Matrix Funding


     4.4
     3        Transworld Systems Inc.                                    Last 4 digits of account number       6510                                             $1,328.00
              Nonpriority Creditor's Name
              507 Prudential Road                                        When was the debt incurred?           10/13
              Horsham, PA 19044
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection acct for Medical Payment Data




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Filed 04/11/19                                                                    Case 19-22253                                                                                       Doc 1
     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                              Case number (if known)

     4.4
     4         Vehicle Registration Collections                          Last 4 digits of account number       2014                                                     $1,056.00
               Nonpriority Creditor's Name
               Franchise Tax Board                                       When was the debt incurred?           11/14
               PO BOX 419001
               Rancho Cordova, CA 95741
               Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                   Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Vehicle Registration Debt


     4.4
     5         WF CRD SVC                                                Last 4 digits of account number       4771                                                       $587.00
               Nonpriority Creditor's Name
               PO Box 14517                                              When was the debt incurred?           04/13
               Des Moines, IA 50306
               Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                   Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card

     Part 3:      List Others to Be Notified About a Debt That You Already Listed
    5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
       is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
       have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
       notified for any debts in Parts 1 or 2, do not fill out or submit this page.
     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     AT&T                                                          Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     PO Box 5014                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
     Carol Stream, IL 60197
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     California Auto Finance                                       Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     P.O. Box 68003                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
     Anaheim, CA 92817
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Comcast Cable Communications                                  Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     841 E. Hunting Park Ave.                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     Philadelphia, PA 19124-4800
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Matrix Funding                                                Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims

    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 17 of 20
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Filed 04/11/19                                                                    Case 19-22253                                                                                       Doc 1
     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                              Case number (if known)

     649 W Elkhorn Blvd                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
     Rio Linda, CA 95673
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Medical Payment Data                                          Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     3620 I 70 Drive, Suite C                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     Columbia, MO 65201
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Medical Payment Data                                          Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     3620 I 70 Drive, Suite C                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     Columbia, MO 65201
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Medical Payment Data                                          Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     3620 I 70 Drive, Suite C                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     Columbia, MO 65201
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Medical Payment Data                                          Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     3620 I 70 Drive, Suite C                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     Columbia, MO 65201
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Medical Payment Data                                          Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     3620 I 70 Drive, Suite C                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     Columbia, MO 65201
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Medical Payment Data                                          Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     3620 I 70 Drive, Suite C                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     Columbia, MO 65201
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Medical Payment Data                                          Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     3620 I 70 Drive, Suite C                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     Columbia, MO 65201
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Medical Payment Data                                          Line 4.36 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     3620 I 70 Drive, Suite C                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     Columbia, MO 65201
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Medical Payment Data                                          Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     3620 I 70 Drive, Suite C                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     Columbia, MO 65201
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Medical Payment Data                                          Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     3620 I 70 Drive, Suite C                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     Columbia, MO 65201
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Medical Payment Data                                          Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     3620 I 70 Drive, Suite C                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     Columbia, MO 65201
                                                                   Last 4 digits of account number


    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 18 of 20
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     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                              Case number (if known)

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Medical Payment Data                                          Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     3620 I 70 Drive, Suite C                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     Columbia, MO 65201
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Methodist Hospital                                            Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     PO BOX 60000                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
     San Francisco, CA 94160
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     PG&E                                                          Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
     P.O. Box 997300                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
     Sacramento, CA 95899
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     PG&E                                                          Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
     P.O. Box 997300                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
     Sacramento, CA 95899
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Progressive                                                   Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     3645 San Marco Drive                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
     Stockton, CA 95212
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Two Jinn, Inc dba Aladdin Bail                                Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
     Bonds                                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
     910 11st Street
     Modesto, CA 95354
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     United States Attorney                                        Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
     For Internal Revenue Service                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
     501 I St. Ste. 10-100
     Sacramento, CA 95814
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     United States Attorney                                        Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
     For Internal Revenue Service                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
     2500 Tulare St., Ste. 4401
     Fresno, CA 93721
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     United States Department of Justice                           Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
     Civil Trial Section Western Region                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
     Box 683 Ben Franklin Station
     Washington, DC 20044
                                                                   Last 4 digits of account number


     Part 4:      Add the Amounts for Each Type of Unsecured Claim
    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
       type of unsecured claim.

                                                                                                                                    Total Claim
                            6a.   Domestic support obligations                                                  6a.       $                           0.00
            Total
          claims
      from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                     2,532.00
                            6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00

    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 19 of 20
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     Debtor 1 Jarett Maurice Clark
     Debtor 2 Rahni Mon'a Clark                                                                             Case number (if known)

                            6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                            6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                 2,532.00

                                                                                                                               Total Claim
                            6f.   Student loans                                                               6f.      $                19,176.00
            Total
          claims
      from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                                  you did not report as priority claims                                       6g.      $                     0.00
                            6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                            6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                                  here.                                                                                $              114,712.15

                            6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $              133,888.15




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 20 of 20
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Filed 04/11/19                                                                  Case 19-22253                                                                           Doc 1
     Fill in this information to identify your case:

     Debtor 1                  Jarett Maurice Clark
                               First Name                         Middle Name            Last Name

     Debtor 2                  Rahni Mon'a Clark
     (Spouse if, filing)       First Name                         Middle Name            Last Name


     United States Bankruptcy Court for the:               EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing



    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).

    1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                  Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

    2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
           example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
           and unexpired leases.


               Person or company with whom you have the contract or lease                   State what the contract or lease is for
                               Name, Number, Street, City, State and ZIP Code

         2.1       John P. Tribuiano                                                          Rental Lease for Property Located at:
                   12701 Riding Trial Drive                                                   12743 Thornberg Way, Rancho Cordova CA 95742
                   Wilton, CA 95693                                                           Monthly Lease Payment $2,700.00




    Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
    Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
Filed 04/11/19                                                                         Case 19-22253                                                                    Doc 1
     Fill in this information to identify your case:

     Debtor 1                     Jarett Maurice Clark
                                  First Name                          Middle Name             Last Name

     Debtor 2                     Rahni Mon'a Clark
     (Spouse if, filing)          First Name                          Middle Name             Last Name


     United States Bankruptcy Court for the:                   EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                              Check if this is an
                                                                                                                                             amended filing


    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                               12/15

    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
    people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
    fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
    your name and case number (if known). Answer every question.

           1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

               No
               Yes

           2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
           Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

               No. Go to line 3.
               Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                           No
                           Yes.


                             In which community state or territory did you live?              California      . Fill in the name and current address of that person.
                             Jarett & Rahni Clark
                             Name of your spouse, former spouse, or legal equivalent
                             Number, Street, City, State & Zip Code

       3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
          in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
          Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
          out Column 2.

                    Column 1: Your codebtor                                                                   Column 2: The creditor to whom you owe the debt
                    Name, Number, Street, City, State and ZIP Code                                            Check all schedules that apply:


        3.1         Monika Swiatek                                                                              Schedule D, line
                                                                                                                Schedule E/F, line 4.27
                                                                                                                Schedule G
                                                                                                              JPMorgan Chase Bank , N.A.




    Official Form 106H                                                                    Schedule H: Your Codebtors                                      Page 1 of 1
    Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
Filed 04/11/19                                                         Case 19-22253                                                                          Doc 1



     Fill in this information to identify your case:

     Debtor 1                      Jarett Maurice Clark

     Debtor 2                      Rahni Mon'a Clark
     (Spouse, if filing)

     United States Bankruptcy Court for the:       EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                              Check if this is:
     (If known)
                                                                                                                 An amended filing
                                                                                                                 A supplement showing postpetition chapter
                                                                                                                 13 income as of the following date:

     Official Form 106I                                                                                          MM / DD/ YYYY
     Schedule I: Your Income                                                                                                                           12/15
    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1:               Describe Employment

     1.     Fill in your employment
            information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

            If you have more than one job,                                 Employed                                   Employed
            attach a separate page with           Employment status
            information about additional                                   Not employed                               Not employed
            employers.
                                                  Occupation            Senior Advisor                             Nurse, per diem
            Include part-time, seasonal, or
            self-employed work.                   Employer's name       Apple Inc                                  Sutter Health

            Occupation may include student        Employer's address
                                                                        1 Infinite Loop                            PO BOX 619010
            or homemaker, if it applies.
                                                                        Cupertino, CA 95014                        Roseville, CA 95661

                                                  How long employed there?         2 1/2 years                               5/2018 to Current

     Part 2:               Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
    more space, attach a separate sheet to this form.

                                                                                                            For Debtor 1        For Debtor 2 or
                                                                                                                                non-filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
     2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $        4,790.52       $         4,413.93

     3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00      +$            0.00

     4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      4,790.52             $   4,413.93




    Official Form 106I                                                       Schedule I: Your Income                                                 page 1
Filed 04/11/19                                                       Case 19-22253                                                                                 Doc 1


     Debtor 1   Jarett Maurice Clark
     Debtor 2   Rahni Mon'a Clark                                                                     Case number (if known)



                                                                                                          For Debtor 1          For Debtor 2 or
                                                                                                                                non-filing spouse
          Copy line 4 here                                                                     4.         $      4,790.52       $         4,413.93

     5.   List all payroll deductions:
          5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        366.21   $               431.62
          5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00   $                 0.00
          5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00   $               132.43
          5d.    Required repayments of retirement fund loans                                  5d.        $        158.47   $                 0.00
          5e.    Insurance                                                                     5e.        $        540.74   $                21.67
          5f.    Domestic support obligations                                                  5f.        $          0.00   $                 0.00
          5g.    Union dues                                                                    5g.        $          0.00   $                48.32
          5h.    Other deductions. Specify: Stock Purchase (ESPP)                              5h.+       $        474.05 + $                 0.00
                 SRMCG (Cancer Center Donation)                                                           $          0.00   $                36.12
     6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,539.47       $           670.16
     7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,251.05       $        3,743.77
     8.   List all other income regularly received:
          8a. Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                           8a.        $              0.00   $                0.00
          8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
          8c. Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce
                 settlement, and property settlement.                                          8c.        $              0.00   $                0.00
          8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
          8e. Social Security                                                                  8e.        $              0.00   $                0.00
          8f.    Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify:                                                                      8f.  $                    0.00   $                0.00
          8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
          8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

     9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                 0.00

     10. Calculate monthly income. Add line 7 + line 9.                                     10. $             3,251.05 + $       3,743.77 = $            6,994.82
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                  11. +$                    0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
         applies                                                                                                                      12.    $           6,994.82
                                                                                                                                            Combined
                                                                                                                                            monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
               No.
               Yes. Explain: (1) Jarett Clark's income very likely to decrease in the near future due to recent diagnosis of lung
                                  cancer, kidney issues, and cardiac disease. Debtor will need to take time off for medical treatment,
                                  chemo, doctor & hospital visits.




    Official Form 106I                                                      Schedule I: Your Income                                                       page 2
Filed 04/11/19                                                               Case 19-22253                                                                          Doc 1



      Fill in this information to identify your case:

      Debtor 1                 Jarett Maurice Clark                                                              Check if this is:
                                                                                                                     An amended filing
      Debtor 2                 Rahni Mon'a Clark                                                                     A supplement showing postpetition chapter
      (Spouse, if filing)                                                                                            13 expenses as of the following date:

      United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

      Case number
      (If known)



      Official Form 106J
      Schedule J: Your Expenses                                                                                                                                12/15
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
      number (if known). Answer every question.

      Part 1:   Describe Your Household
      1. Is this a joint case?
                 No. Go to line 2.
                 Yes. Does Debtor 2 live in a separate household?

                            No
                            Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

      2.    Do you have dependents?               No
            Do not list Debtor 1 and              Yes.
                                                         Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
            Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

            Do not state the                                                                                                                       No
            dependents names.                                                            Son                                  14                   Yes
                                                                                                                                                   No
                                                                                         Son                                  17                   Yes
                                                                                                                                                   No
                                                                                         Daughter                             18                   Yes
                                                                                                                                                   No
                                                                                                                                                   Yes
      3.    Do your expenses include                     No
            expenses of people other than
            yourself and your dependents?                Yes

      Part 2:    Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know
      the value of such assistance and have included it on Schedule I: Your Income
      (Official Form 106I.)                                                                                                        Your expenses


      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                          4. $                             2,700.00

            If not included in line 4:

            4a. Real estate taxes                                                                               4a.    $                              0.00
            4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
            4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             40.00
            4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
      5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00



      Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
Filed 04/11/19                                                      Case 19-22253                                                           Doc 1


      Debtor 1    Jarett Maurice Clark
      Debtor 2    Rahni Mon'a Clark                                                              Case number (if known)

      6.    Utilities:
            6a. Electricity, heat, natural gas                                                        6a.   $                  0.00
            6b. Water, sewer, garbage collection                                                      6b.   $                300.00
            6c. Telephone, cell phone, Internet, satellite, and cable services                        6c.   $                  0.00
            6d. Other. Specify: Cell phone                                                            6d.   $                450.00
                  Internet & Cable                                                                          $                200.00
      7.    Food and housekeeping supplies                                                           7.     $                900.00
      8.    Childcare and children’s education costs                                                 8.     $                  0.00
      9.    Clothing, laundry, and dry cleaning                                                      9.     $                100.00
      10.   Personal care products and services                                                    10.      $                150.00
      11.   Medical and dental expenses                                                            11.      $                500.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                           12. $                     720.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                     115.00
      14.   Charitable contributions and religious donations                                       14. $                     400.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                  15a. $                        0.00
            15b. Health insurance                                                                15b. $                        0.00
            15c. Vehicle insurance                                                               15c. $                      511.84
            15d. Other insurance. Specify:                                                       15d. $                        0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify: Vehicle Registration                                                          16. $                      45.00
            Specify: Set aside for future tax obligations                                               $                    210.00
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                      17a. $                      337.75
            17b. Car payments for Vehicle 2                                                      17b. $                      259.00
            17c. Other. Specify:                                                                 17c. $                        0.00
            17d. Other. Specify:                                                                 17d. $                        0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as
            deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                        0.00
      19.   Other payments you make to support others who do not live with you.                         $                       0.00
            Specify:                                                                               19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                     20a. $                        0.00
            20b. Real estate taxes                                                               20b. $                        0.00
            20c. Property, homeowner’s, or renter’s insurance                                    20c. $                        0.00
            20d. Maintenance, repair, and upkeep expenses                                        20d. $                        0.00
            20e. Homeowner’s association or condominium dues                                     20e. $                        0.00
      21.   Other: Specify:    Pet Food/Vet/Other care                                             21. +$                    150.00
            Uniforms/Work Clothing                                                                      +$                   100.00
            Additional Future Medical Expenses                                                          +$                   500.00
      22. Calculate your monthly expenses
          22a. Add lines 4 through 21.                                                                          $         8,688.59
          22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                  $
            22c. Add line 22a and 22b. The result is your monthly expenses.                                     $         8,688.59
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                          23a. $                 6,994.82
          23b. Copy your monthly expenses from line 22c above.                                       23b. -$                8,688.59

            23c. Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                              23c. $                -1,693.77




      Official Form 106J                                          Schedule J: Your Expenses                                            page 2
Filed 04/11/19                                                            Case 19-22253                                                                                     Doc 1


      Debtor 1    Jarett Maurice Clark
      Debtor 2    Rahni Mon'a Clark                                                                         Case number (if known)

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
           For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
           modification to the terms of your mortgage?
              No.
              Yes.             Explain here: (1) Eldest daughter will be starting college, live at home and will not be able to contribute to
                               household expenses;
                               (2) $30 co-pay for each doctor visit (Debtor goes about 2-3x week), $30 (5 medications per month);
                               (3) Debtors anticipate substantial increase in medical expenses in near future due to recent diagnosis of
                               lung cancer, kidney issues, and cardiac disease;




      Official Form 106J                                                 Schedule J: Your Expenses                                                                     page 3
Filed 04/11/19                                                                Case 19-22253                                                                             Doc 1




     Fill in this information to identify your case:

     Debtor 1                    Jarett Maurice Clark
                                 First Name                     Middle Name             Last Name

     Debtor 2                    Rahni Mon'a Clark
     (Spouse if, filing)         First Name                     Middle Name             Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                           Check if this is an
                                                                                                                                          amended filing



    Official Form 106Dec
    Declaration About an Individual Debtor's Schedules                                                                                                          12/15

    If two married people are filing together, both are equally responsible for supplying correct information.

    You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
    obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
    years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                           Sign Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                    No

                    Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                    Declaration, and Signature (Official Form 119)


           Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
           that they are true and correct.

            X /s/ Jarett Maurice Clark                                                  X   /s/ Rahni Mon'a Clark
                  Jarett Maurice Clark                                                      Rahni Mon'a Clark
                  Signature of Debtor 1                                                     Signature of Debtor 2

                  Date       April 11, 2019                                                 Date    April 11, 2019




    Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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Filed 04/11/19                                                                  Case 19-22253                                                                             Doc 1



     Fill in this information to identify your case:

     Debtor 1                  Jarett Maurice Clark
                               First Name                       Middle Name                  Last Name

     Debtor 2                  Rahni Mon'a Clark
     (Spouse if, filing)       First Name                       Middle Name                  Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                Check if this is an
                                                                                                                                               amended filing



    Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              4/16
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
    number (if known). Answer every question.

     Part 1:        Give Details About Your Marital Status and Where You Lived Before

    1.     What is your current marital status?

                   Married
                   Not married

    2.     During the last 3 years, have you lived anywhere other than where you live now?

                   No
                   Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                            Dates Debtor 2
                                                                     lived there                                                                   lived there
            9668 Ashstone Way                                        From-To:                       Same as Debtor 1                                  Same as Debtor 1
            Elk Grove, CA 95624                                      08/2015 to                                                                    From-To:
                                                                     02/2017

            9662 Eisenbeisz St Apt B                                 From-To:                       Same as Debtor 1                                  Same as Debtor 1
            Elk Grove, CA 95624                                      10/2013 to                                                                    From-To:
                                                                     08/2015


    3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
    states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

                   No
                   Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

     Part 2         Explain the Sources of Your Income

    4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
           Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
           If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                   No
                   Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income                   Sources of income           Gross income
                                                       Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                        exclusions)                                                and exclusions)
    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
    Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
Filed 04/11/19                                                                  Case 19-22253                                                                              Doc 1
     Debtor 1      Jarett Maurice Clark
     Debtor 2      Rahni Mon'a Clark                                                                           Case number (if known)


                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income                   Sources of income            Gross income
                                                       Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                        exclusions)                                                 and exclusions)

     From January 1 of current year until                 Wages, commissions,                       $14,535.00            Wages, commissions,                $9,413.00
     the date you filed for bankruptcy:
                                                       bonuses, tips                                                   bonuses, tips
                                                           Operating a business                                           Operating a business

     For last calendar year:                              Wages, commissions,                       $57,335.00            Wages, commissions,              $23,758.00
     (January 1 to December 31, 2018 )
                                                       bonuses, tips                                                   bonuses, tips

                                                           Operating a business                                           Operating a business

     For the calendar year before that:                   Wages, commissions,                       $67,646.00           Wages, commissions,                       $0.00
     (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                       bonuses, tips
                                                                                                                          Operating a business
                                                           Operating a business


    5.    Did you receive any other income during this year or the two previous calendar years?
          Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
          and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
          winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

          List each source and the gross income from each source separately. Do not include income that you listed in line 4.

                No
                Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income from              Sources of income            Gross income
                                                       Describe below.                  each source                    Describe below.              (before deductions
                                                                                        (before deductions and                                      and exclusions)
                                                                                        exclusions)
     For last calendar year:                           Tax Refund for 2017                            $3,809.00
     (January 1 to December 31, 2018 )


     Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

    6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
               No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                     individual primarily for a personal, family, or household purpose.”

                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                              No.      Go to line 7.
                              Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                     paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                     not include payments to an attorney for this bankruptcy case.
                         * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

                Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                              No.      Go to line 7.
                              Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                       include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                       attorney for this bankruptcy case.


           Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                         paid            still owe



    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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     Debtor 1      Jarett Maurice Clark
     Debtor 2      Rahni Mon'a Clark                                                                           Case number (if known)


           Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                         paid            still owe
           Southern Hills Acceptance                                 Monthly X 3                    $1,013.25            $9,869.41        Mortgage
           PO BOX 25570                                                                                                                   Car
           Santa Ana, CA 92799
                                                                                                                                          Credit Card
                                                                                                                                          Loan Repayment
                                                                                                                                          Suppliers or vendors
                                                                                                                                          Other


           FREEWAY FUNDING INC                                       Monthly X 3                      $778.83            $4,997.09        Mortgage
           3601 CALLE TECATE STE 20                                                                                                       Car
           Camarillo, CA 93012
                                                                                                                                          Credit Card
                                                                                                                                          Loan Repayment
                                                                                                                                          Suppliers or vendors
                                                                                                                                          Other


    7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
          Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
          of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
          a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
          alimony.

                No
                Yes. List all payments to an insider.
           Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                         paid            still owe

    8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
          insider?
          Include payments on debts guaranteed or cosigned by an insider.

                No
                Yes. List all payments to an insider
           Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                         paid            still owe      Include creditor's name

     Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

    9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
          List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
          modifications, and contract disputes.

                No
                Yes. Fill in the details.
           Case title                                                Nature of the case         Court or agency                         Status of the case
           Case number
           Lobel Financial Corp.                                     Breach of                  Superior Court of California               Pending
           vs.                                                       Contract                                                              On appeal
           Jarett M. Clark, Rahni M. Clark
                                                                                                                                           Concluded
           04AM09778
                                                                                                                                        Wage Garnishment




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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     Debtor 1      Jarett Maurice Clark
     Debtor 2      Rahni Mon'a Clark                                                                           Case number (if known)


    10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

                No. Go to line 11.
                Yes. Fill in the information below.
           Creditor Name and Address                                 Describe the Property                                        Date                 Value of the
                                                                                                                                                          property
                                                                     Explain what happened
           Nowcom/Rudolph Inc.                                       2009 Dodge Journey SE Sport Utility 4D                                              $5,206.00
           737 Southpoint Blvd.                                      80,000 miles
           Petaluma, CA 94954
                                                                         Property was repossessed.
                                                                         Property was foreclosed.
                                                                         Property was garnished.
                                                                         Property was attached, seized or levied.

           Lobel Financial Corp.                                     Wages                                                        12/21/2018 to          $3,328.00
           PO BOX 3000                                                                                                            present date
           Anaheim, CA 92803                                             Property was repossessed.
                                                                         Property was foreclosed.
                                                                         Property was garnished.
                                                                         Property was attached, seized or levied.


    11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?
                No
                Yes. Fill in the details.
           Creditor Name and Address                                 Describe the action the creditor took                        Date action was           Amount
                                                                                                                                  taken

    12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
        court-appointed receiver, a custodian, or another official?

                No
                Yes

     Part 5:      List Certain Gifts and Contributions

    13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
                No
                Yes. Fill in the details for each gift.
           Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave               Value
           per person                                                                                                             the gifts

           Person to Whom You Gave the Gift and
           Address:

    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
                Yes. Fill in the details for each gift or contribution.
           Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                    Value
           more than $600                                                                                                         contributed
           Charity's Name
           Address (Number, Street, City, State and ZIP Code)
           The Rock Church                                                tithes                                                  monthly                  $400.00
           8520 Bradshaw Rd
           Elk Grove, CA 95624




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4
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Filed 04/11/19                                                                  Case 19-22253                                                                            Doc 1
     Debtor 1      Jarett Maurice Clark
     Debtor 2      Rahni Mon'a Clark                                                                           Case number (if known)


     Part 6:      List Certain Losses

    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
        or gambling?

                No
                Yes. Fill in the details.
           Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
           how the loss occurred                                                                                                  loss                            lost
                                                                Include the amount that insurance has paid. List pending
                                                                insurance claims on line 33 of Schedule A/B: Property.

     Part 7:      List Certain Payments or Transfers

    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
           Address                                                       transferred                                              or transfer was            payment
           Email or website address                                                                                               made
           Person Who Made the Payment, if Not You
           Amerio Law Firm, PC                                           Attorney Fees                                            Prior to filing           $2,090.00
           1640 Lead Hill Blvd, Suite 220
           Roseville, CA 95661
           bankruptcy@ameriolaw.com


           Amerio Law Firm, PC                                           Credit Report                                            Prior to filing               $49.00
           1640 Lead Hill Blvd, Suite 220
           Roseville, CA 95661
           bankruptcy@ameriolaw.com


           Dollar Learning Foundation, Inc                               Credit counseling                                        Prior to filing               $14.99
           21900 Burbank Blvd
           Woodland Hills, CA 91367-6469


    17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
           Address                                                       transferred                                              or transfer was            payment
                                                                                                                                  made

    18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
        include gifts and transfers that you have already listed on this statement.
                No
                Yes. Fill in the details.
           Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
           Address                                                       property transferred                       payments received or debts      made
                                                                                                                    paid in exchange
           Person's relationship to you




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
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     Debtor 1      Jarett Maurice Clark
     Debtor 2      Rahni Mon'a Clark                                                                            Case number (if known)


    19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
        beneficiary? (These are often called asset-protection devices.)
                No
                Yes. Fill in the details.
           Name of trust                                                 Description and value of the property transferred                     Date Transfer was
                                                                                                                                               made

     Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

    20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
        sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
        houses, pension funds, cooperatives, associations, and other financial institutions.
                No
                Yes. Fill in the details.
           Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was        Last balance
           Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,       before closing or
           Code)                                                                                                            moved, or                    transfer
                                                                                                                            transferred

    21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

                No
                Yes. Fill in the details.
           Name of Financial Institution                                 Who else had access to it?             Describe the contents            Do you still
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                          have it?
                                                                         State and ZIP Code)


    22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

                No
                Yes. Fill in the details.
           Name of Storage Facility                                      Who else has or had access             Describe the contents            Do you still
           Address (Number, Street, City, State and ZIP Code)            to it?                                                                  have it?
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)

     Part 9:       Identify Property You Hold or Control for Someone Else

    23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
        for someone.

                No
                Yes. Fill in the details.
           Owner's Name                                                  Where is the property?                 Describe the property                        Value
           Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                         Code)

     Part 10:      Give Details About Environmental Information

    For the purpose of Part 10, the following definitions apply:

          Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
          toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
          regulations controlling the cleanup of these substances, wastes, or material.
          Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
          to own, operate, or utilize it, including disposal sites.
          Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
          hazardous material, pollutant, contaminant, or similar term.

    Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 6
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Filed 04/11/19                                                                  Case 19-22253                                                                                Doc 1
     Debtor 1      Jarett Maurice Clark
     Debtor 2      Rahni Mon'a Clark                                                                                Case number (if known)


    24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

                No
                Yes. Fill in the details.
           Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                         ZIP Code)

    25. Have you notified any governmental unit of any release of hazardous material?

                No
                Yes. Fill in the details.
           Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                         ZIP Code)

    26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

                No
                Yes. Fill in the details.
           Case Title                                                    Court or agency                            Nature of the case                   Status of the
           Case Number                                                   Name                                                                            case
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)

     Part 11:     Give Details About Your Business or Connections to Any Business

    27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                    A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                    A member of a limited liability company (LLC) or limited liability partnership (LLP)

                    A partner in a partnership

                    An officer, director, or managing executive of a corporation

                    An owner of at least 5% of the voting or equity securities of a corporation

                No. None of the above applies. Go to Part 12.

                Yes. Check all that apply above and fill in the details below for each business.
           Business Name                                             Describe the nature of the business                 Employer Identification number
           Address                                                                                                       Do not include Social Security number or ITIN.
           (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                         Dates business existed
           Lyft                                                      Driver                                              EIN:
           12743 Thornberg Way
           Rancho Cordova, CA 95742                                                                                      From-To    01/2017 to 12/2017


    28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
        institutions, creditors, or other parties.

                No
                Yes. Fill in the details below.
           Name                                                      Date Issued
           Address
           (Number, Street, City, State and ZIP Code)




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 7
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     Debtor 1      Jarett Maurice Clark
     Debtor 2      Rahni Mon'a Clark                                                                           Case number (if known)


     Part 12:     Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
    are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
    with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

     /s/ Jarett Maurice Clark                                                /s/ Rahni Mon'a Clark
     Jarett Maurice Clark                                                    Rahni Mon'a Clark
     Signature of Debtor 1                                                   Signature of Debtor 2

     Date     April 11, 2019                                                 Date     April 11, 2019

    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
       No
       Yes

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       No
       Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 8
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Filed 04/11/19                                                                Case 19-22253                                                             Doc 1


     Fill in this information to identify your case:

     Debtor 1                 Jarett Maurice Clark
                              First Name                        Middle Name              Last Name

     Debtor 2                 Rahni Mon'a Clark
     (Spouse if, filing)      First Name                        Middle Name              Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                              Check if this is an
                                                                                                                             amended filing



    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


    If you are an individual filing under chapter 7, you must fill out this form if:
        creditors have claims secured by your property, or
      you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
            whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
            on the form

    If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
             sign and date the form.

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
            write your name and case number (if known).

     Part 1:        List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.
        Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                                   secures a debt?                                    as exempt on Schedule C?



        Creditor's         Empower Retirement                                   Surrender the property.                     No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a        Yes
        Description of 401k Plan through Empower                                Reaffirmation Agreement.
        property       Retirement                                               Retain the property and [explain]:
        securing debt: (Excluded from estate pursuant
                       to 11 U.S.C. 541(c))
                       Outstanding loan balance in
                       amount of $8,249.56                                    Retain and Pay Pursuant to Contract



        Creditor's         FREEWAY FUNDING INC                                  Surrender the property.                     No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a        Yes
        Description of 2010 Chevrolet Malibu LT Sedan                           Reaffirmation Agreement.
        property       4D 145,618 miles                                         Retain the property and [explain]:
        securing debt: (Good condition, value per
                       kbb.com)


        Creditor's         Southern Hills Acceptance                            Surrender the property.                     No



    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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Filed 04/11/19                                                               Case 19-22253                                                                            Doc 1


     Debtor 1      Jarett Maurice Clark
     Debtor 2      Rahni Mon'a Clark                                                                      Case number (if known)


         name:                                                                   Retain the property and redeem it.                         Yes

                                                                                Retain the property and enter into a
         Description of 2011 Ford Flex SEL 125,059                              Reaffirmation Agreement.
         property       miles                                                   Retain the property and [explain]:
         securing debt: (fair condition, per kbb.com)

     Part 2:   List Your Unexpired Personal Property Leases
    For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
    in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
    You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                              Will the lease be assumed?

     Lessor's name:               John P. Tribuiano                                                                                   No

                                                                                                                                      Yes

     Description of leased        Rental Lease for Property Located at:
     Property:                    12743 Thornberg Way, Rancho Cordova CA 95742
                                  Monthly Lease Payment $2,700.00


     Part 3:      Sign Below

    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
    property that is subject to an unexpired lease.

     X     /s/ Jarett Maurice Clark                                                     X /s/ Rahni Mon'a Clark
           Jarett Maurice Clark                                                             Rahni Mon'a Clark
           Signature of Debtor 1                                                            Signature of Debtor 2

           Date        April 11, 2019                                                   Date     April 11, 2019




    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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Filed 04/11/19                                                                   Case 19-22253                                                                                   Doc 1


     Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                       122A-1Supp:
     Debtor 1              Jarett Maurice Clark
     Debtor 2              Rahni Mon'a Clark                                                                   1. There is no presumption of abuse
     (Spouse, if filing)
                                                                                                               2. The calculation to determine if a presumption of abuse
     United States Bankruptcy Court for the:            Eastern District of California
                                                                                                                   applies will be made under Chapter 7 Means Test
                                                                                                                   Calculation (Official Form 122A-2).
     Case number
     (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                                   qualified military service but it could apply later.
                                                                                                               Check if this is an amended filing
    Official Form 122A - 1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
    attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
    case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
    qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

     Part 1:           Calculate Your Current Monthly Income

      1. What is your marital and filing status? Check one only.
                  Not married. Fill out Column A, lines 2-11.
                  Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
                  Married and your spouse is NOT filing with you. You and your spouse are:
                     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                     penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                     living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
        the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
        spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A                   Column B
                                                                                                           Debtor 1                   Debtor 2 or
                                                                                                                                      non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
         payroll deductions).                                                               $                         5,568.18        $        3,808.80
      3. Alimony     and maintenance   payments.   Do not include payments from a spouse if
         Column B is filled in.                                                             $                               0.00      $              0.00
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.                           $                               0.00      $              0.00
      5. Net income from operating a business, profession, or farm
                                                                            Debtor 1
            Gross receipts (before all deductions)                            $      0.00
            Ordinary and necessary operating expenses                        -$      0.00
            Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                    0.00      $              0.00
      6. Net income from rental and other real property
                                                                                         Debtor 1
            Gross receipts (before all deductions)                            $      0.00
            Ordinary and necessary operating expenses                        -$      0.00
            Net monthly income from rental or other real property            $       0.00 Copy here -> $                    0.00      $              0.00
                                                                                                           $                0.00      $              0.00
      7. Interest, dividends, and royalties




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 1
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     Debtor 1     Jarett Maurice Clark
     Debtor 2     Rahni Mon'a Clark                                                                           Case number (if known)



                                                                                                          Column A                      Column B
                                                                                                          Debtor 1                      Debtor 2 or
                                                                                                                                        non-filing spouse
      8. Unemployment compensation                                                                        $                  0.00       $           0.00
           Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here:
              For you                                          $                    0.00
                For your spouse                                          $                    0.00
      9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act.                                                          $                  0.00       $           0.00
      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments
          received as a victim of a war crime, a crime against humanity, or international or
          domestic terrorism. If necessary, list other sources on a separate page and put the
          total below.
                 .                                                                                        $                  0.00       $           0.00
                                                                                                          $                  0.00       $           0.00
                      Total amounts from separate pages, if any.                                     +    $                  0.00       $           0.00

      11. Calculate your total current monthly income. Add lines 2 through 10 for
          each column. Then add the total for Column A to the total for Column B.                $       5,568.18          +   $       3,808.80     =   $      9,376.98

                                                                                                                                                        Total current monthly
                                                                                                                                                        income

     Part 2:        Determine Whether the Means Test Applies to You

      12. Calculate your current monthly income for the year. Follow these steps:
           12a. Copy your total current monthly income from line 11                                                 Copy line 11 here=>             $          9,376.98

                  Multiply by 12 (the number of months in a year)                                                                                           x 12
           12b. The result is your annual income for this part of the form                                                                    12b. $         112,523.76

      13. Calculate the median family income that applies to you. Follow these steps:

           Fill in the state in which you live.                                 CA

           Fill in the number of people in your household.                        5
           Fill in the median family income for your state and size of household.                                                             13.   $        102,905.00
           To find a list of applicable median income amounts, go online using the link specified in the separate instructions
           for this form. This list may also be available at the bankruptcy clerk’s office.
      14. How do the lines compare?
           14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                          Go to Part 3.
           14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                          Go to Part 3 and fill out Form 122A-2.
     Part 3:        Sign Below
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                 X /s/ Jarett Maurice Clark                                               X /s/ Rahni Mon'a Clark
                    Jarett Maurice Clark                                                       Rahni Mon'a Clark
                    Signature of Debtor 1                                                      Signature of Debtor 2
            Date April 11, 2019                                                        Date April 11, 2019
                 MM / DD / YYYY                                                             MM / DD / YYYY
                  If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.



    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                      page 2
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Filed 04/11/19                                                                 Case 19-22253                                                                              Doc 1


     Fill in this information to identify your case:                                                                 Check the appropriate box as directed in
                                                                                                                     lines 40 or 42:
     Debtor 1            Jarett Maurice Clark
                                                                                                                         According to the calculations required by this
     Debtor 2           Rahni Mon'a Clark                                                                                Statement:
     (Spouse, if filing)
                                                                                                                            1. There is no presumption of abuse.
     United States Bankruptcy Court for the:            Eastern District of California
                                                                                                                            2. There is a presumption of abuse.
     Case number
     (if known)
                                                                                                                         Check if this is an amended filing
    Official Form 122A - 2
    Chapter 7 Means Test Calculation                                                                                                                                04/16

    To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
    space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
    additional pages, write your name and case number (if known).

     Part 1:       Determine Your Adjusted Income

     1.    Copy your total current monthly income.                               Copy line 11 from Official Form 122A-1 here=>........       $              9,376.98

     2.    Did you fill out Column B in Part 1 of Form 122A-1?
               No. Fill in $0 for the total on line 3.
               Yes. Is your spouse Filing with you?
                  No.         Go to line 3.
                  Yes.        Fill in $0 for the total on line 3.

     3.    Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
           household expenses of you or your dependents. Follow these steps:

           On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT regularly used for the household
           expenses of you or your dependents?


               No. Fill in 0 for the total on line 3.
               Yes. Fill in the information below:

                   State each purpose for which the income was used                                    Fill in the amount you
                   For example, the income is used to pay your spouse's tax debt or to                 are subtracting from
                   support other than you or your dependents.                                          your spouse's income

                                                                                                   $

                                                                                                   $

                                                                                                   $

                         Total.                                                                    $              0.00

                                                                                                                          Copy total here=>...    -$              0.00


     4.    Adjust your current monthly income. Subtract line 3 from line 1.                                                                      $       9,376.98




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                      page 1
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     Debtor 1         Jarett Maurice Clark
     Debtor 2         Rahni Mon'a Clark                                                                 Case number (if known)



     Part 2:           Calculate Your Deductions from Your Income

        The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
        to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
        instructions for this form. This information may also be available at the bankruptcy clerk's office.

        Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of
        your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted fro your spouse's
        income in line 3 and do not deduct any operating expenses that you subtracted from in income in lines 5 and 6 of form 122A-1.

        If your expenses differ from month to month, enter the average expense.

        Whenever this part of the from refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.


        5.      The number of people used in determining your deductions from income

                Fill in the number of people who could be claimed as exemptions on your federal income tax return,
                plus the number of any additional dependents whom you support. This number may be different from                            5
                the number of people in your household.



        National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



        6.      Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
                Standards, fill in the dollar amount for food, clothing, and other items.                                                       $          2,051.00


        7.      Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
                the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
                people who are 65 or older--because older people have a higher IRS allowance for health care costs. If your actual expenses are
                higher than this IRS amount, you may deduct the additional amount on line 22.



        People who are under 65 years of age

                7a. Out-of-pocket health care allowance per person              $             52

                7b. Number of people who are under 65                           X         5

                7c. Subtotal. Multiply line 7a by line 7b.                      $       260.00          Copy here=>        $           260.00


        People who are 65 years of age or older

                7d. Out-of-pocket health care allowance per person              $          114

                7e. Number of people who are 65 or older                        X         0

                7f.     Subtotal. Multiply line 7d by line 7e.                  $         0.00          Copy here=>       +$              0.00


                7g. Total. Add line 7c and line 7f                                                 $   260.00                    Copy total here=> $      260.00




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                     page 2
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     Debtor 1     Jarett Maurice Clark
     Debtor 2     Rahni Mon'a Clark                                                                                Case number (if known)


        Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.


        Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
        bankruptcy purposes into two parts:

             Housing and utilities - Insurance and operating expenses
             Housing and utilities - Mortgage or rent expenses

        To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

        To find the chart, go online using the link specified in the separate instructions for this form.
        This chart may also be available at the bankruptcy clerk's office.


        8.      Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
                in the dollar amount listed for your county for insurance and operating expenses. ........................................... $                         663.00

        9.      Housing and utilities - Mortgage or rent expenses:

                9a. Using the number of people you entered in line 5, fill in the dollar amount
                    listed for your county for mortgage or rent expenses...................................                            $    1,772.00

                9b. Total average monthly payment for all mortgages and other debts secured by your home.

                     To calculate the total average monthly payment, add all amounts that are
                     contractually due to each secured creditor in the 60 months after you file
                     for bankruptcy. Then divide by 60.

                     Name of the creditor                                               Average monthly
                                                                                        payment

                     -NONE-                                                             $


                                                                                                                                                         Repeat this
                                                                                                                    Copy                                 amount on
                                             Total average monthly payment              $                   0.00    here=>        -$             0.00    line 33a.


                9c. Net mortgage or rent expense.

                     Subtract line 9b (total average monthly payment) from line 9a (mortgage                                                    Copy
                     or rent expense). If this amount is less than $0, enter $0. ........................              $           1,772.00     here=>    $            1,772.00


        10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
            affects the calculation of your monthly expenses, fill in any additional amount you claim.                                                   $                0.00

                 Explain why:

        11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

                   0. Go to line 14.

                   1. Go to line 12.

                   2 or more. Go to line 12.


        12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
            operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                          $              436.00




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                                page 3
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     Debtor 1     Jarett Maurice Clark
     Debtor 2     Rahni Mon'a Clark                                                                                   Case number (if known)



        13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
            You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
            more than two vehicles.


         Vehicle 1         Describe Vehicle 1: 2011 Ford Flex SEL 125,059 miles (fair condition, per
                                                      kbb.com)

        13a. Ownership or leasing costs using IRS Local Standard..........................................                  $             497.00

        13b. Average monthly payment for all debts secured by Vehicle 1.
                Do not include costs for leased vehicles.

                To calculate the average monthly payment here and on line 13e, add all amounts that
                are contractually due to each secured creditor in the 60 months after you filed for
                bankruptcy. Then divide by 60.

                     Name of each creditor for Vehicle 1                               Average monthly
                                                                                       payment

                     Southern Hills Acceptance                                          $             185.65

                                                                                                                                                           Repeat this
                                                                                                                       Copy                                amount on
                                             Total Average Monthly Payment              $             185.65           here =>       -$        185.65      line 33b.




        13c. Net Vehicle 1 ownership or lease expense                                                                                                  Copy net
                                                                                                                                                       Vehicle 1
                Subtract line 13b from line 13a. if this amount is less than $0, enter $0.                                                             expense
                                                                                                                            $             311.35       here => $               311.35



         Vehicle 2         Describe Vehicle 2: 2010 Chevrolet Malibu LT Sedan 4D 145,618 miles (Good
                                                      condition, value per kbb.com)

        13d. Ownership or leasing costs using IRS Local Standard...................................................         $             497.00

        13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
             leased vehicles.

                     Name of each creditor for Vehicle 2                               Average monthly
                                                                                       payment

                     FREEWAY FUNDING INC                                                $               89.86

                                                                                                                       Copy                             Repeat this
                                                                                                                       here                             amount on
                                             Total Average Monthly Payment              $               89.86          =>                      89.86    line 33c.
                                                                                                                                -$


        13f. Net Vehicle 2 ownership or lease expense                                                                                                  Copy net
                                                                                                                                                       Vehicle 2
                Subtract line 13e from line 13d. if this amount is less than $0, enter $0. ......................                                      expense
                                                                                                                            $             407.14       here => $               407.14


        14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
            Transportation expense allowance regardless of whether you use public transportation.                                                                 $                0.00

        15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
            also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
            not claim more than the IRS Local Standard for Public Transportation.                                                                                 $                0.00




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                                       page 4
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Filed 04/11/19                                                                Case 19-22253                                                                        Doc 1

     Debtor 1     Jarett Maurice Clark
     Debtor 2     Rahni Mon'a Clark                                                                     Case number (if known)




        Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                                the following IRS categories.

        16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,
            self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
            your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
            and subtract that number from the total monthly amount that is withheld to pay for taxes.
                Do not include real estate, sales, or use taxes.                                                                             $       1,025.81

        17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
            contributions, union dues, and uniform costs.
                Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.         $         100.23

        18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
            filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
            insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than
            term.                                                                                                                            $           27.58

        19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
            administrative agency, such as spousal or child support payments.
                Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.    $             0.00

        20. Education: The total monthly amount that you pay for education that is either required:
                   as a condition for your job, or
                   for your physically or mentally challenged dependent child if no public education is available for similar services.      $             0.00

        21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
                Do not include payments for any elementary or secondary school education.                                                    $             0.00

        22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
            that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
            by a health savings account. Include only the amount that is more than the total entered in line 7.
                Payments for health insurance or health savings accounts should be listed only in line 25.                                   $         240.00

        23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
            for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
            phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
            income, if it is not reimbursed by your employer.
                Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
                expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.                  +$         200.00



        24. Add all of the expenses allowed under the IRS expense allowances.                                                               $     7,494.11
            Add lines 6 through 23.




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                               page 5
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     Debtor 1     Jarett Maurice Clark
     Debtor 2     Rahni Mon'a Clark                                                                       Case number (if known)



        Additional Expense Deductions                 These are additional deductions allowed by the Means Test.
                                                      Note: Do not include any expense allowances listed in lines 6-24.

        25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
            insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
            your dependents.
                Health insurance                                                $       460.99
                Disability insurance                                            $        11.35
                Health savings account                                        +$          0.00


                Total                                                           $        472.34       Copy total here=>                $          472.34


                Do you actually spend this total amount?

                        No. How much do you actually spend?
                        Yes                                                     $

        26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
            continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
            your household or member of your immediate family who is unable to pay for such expenses. These expenses may
            include contributions to an account of a qualified ABLE program. 26 U.S.C.§ 529A(b).                                        $             0.00
        27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
            safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

                By law, the court must keep the nature of these expenses confidential.                                                  $             0.00
        28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
            line 8.

                If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
                8, then fill in the excess amount of home energy costs.

                You must give your case trustee documentation of your actual expenses, and you must show that the additional
                amount claimed is reasonable and necessary.                                                                             $             0.00
        29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
            $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
            public elementary or secondary school.

                You must give your case trustee documentation of your actual expenses, and you must explain why the amount
                claimed is reasonable and necessary and not already accounted for in lines 6-23.

                * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.    $             0.00
        30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
            higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
            than 5% of the food and clothing allowances in the IRS National Standards.

                To find a chart showing the maximum additional allowance, go online using the link specified in the separate
                instructions for this form. This chart may also be available at the bankruptcy clerk's office.

                You must show that the additional amount claimed is reasonable and necessary.                                           $             0.00
        31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
            instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).                                          +$         416.67


        32. Add all of the additional expense deductions.                                                                              $       889.01
            Add lines 25 through 31.




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                          page 6
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     Debtor 1    Jarett Maurice Clark
     Debtor 2    Rahni Mon'a Clark                                                                                   Case number (if known)



        Deductions for Debt Payment

        33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
            loans, and other secured debt, fill in lines 33a through 33e.
            To calculate the total average monthly payment, add all amounts that are contractually due to each secured
            creditor in the 60 months after you file for bankruptcy. Then divide by 60.

                 Mortgages on your home:                                                                                                                   Average monthly
                                                                                                                                                           payment
        33a.     Copy line 9b here                                                                                                                  =>     $              0.00
                 Loans on your first two vehicles:
        33b.     Copy line 13b here                                                                                                                 =>     $           185.65
        33c.     Copy line 13e here                                                                                                                 =>     $            89.86
        33d.     List other secured debts:
        Name of each creditor for other secured debt                     Identify property that secures the debt                    Does payment
                                                                                                                                    include taxes or
                                                                                                                                    insurance?

                                                                         401k Plan through Empower
                                                                         Retirement
                                                                         (Excluded from estate pursuant to 11
                                                                         U.S.C. 541(c))                                                       No
                                                                         Outstanding loan balance in amount of
                Empower Retirement                                       $8,249.56                                                            Yes          $           140.31

                                                                                                                                              No
                                                                                                                                              Yes          $

                                                                                                                                              No
                                                                                                                                              Yes        +$


                                                                                                                                                       Copy
                                                                                                                                                       total
        33e. Total average monthly payment. Add lines 33a through 33d                                                    $              415.82         here=>   $       415.82

        34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
            or other property necessary for your support or the support of your dependents?
                 No.     Go to line 35.
                 Yes. State any amount that you must pay to a creditor, in addition to the payments
                      listed in line 33, to keep possession of your property (called the cure amount).
                      Next, divide by 60 and fill in the information below.

         Name of the creditor                                    Identify property that secures the debt                         Total cure                     Monthly cure
                                                                                                                                 amount                         amount

                                                                 2010 Chevrolet Malibu LT Sedan 4D
                                                                 145,618 miles
         FREEWAY FUNDING INC                                     (Good condition, value per kbb.com)                         $          404.49 ÷ 60 = $                   6.74
                                                                 2011 Ford Flex SEL 125,059 miles
         Southern Hills Acceptance                               (fair condition, per kbb.com)                               $          381.26 ÷ 60 = $                   6.35
                                                                                                                             $                      ÷ 60 = +$


                                                                                                                                                       Copy
                                                                                                                                                       total
                                                                                                                   Total $                13.09        here=>   $            13.09




    Official Form 122A-2                                                     Chapter 7 Means Test Calculation                                                               page 7
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     Debtor 1    Jarett Maurice Clark
     Debtor 2    Rahni Mon'a Clark                                                                      Case number (if known)

        35. Do you owe any priority claims such as a priority tax, child support, or alimony - that
            are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

                 No.     Go to line 36.
                 Yes. Fill in the total amount of all of these priority claims. Do not include current or
                      ongoing priority claims, such as those you listed in line 19.
                          Total amount of all past-due priority claims                                      $           2,532.00 ÷ 60 = $           42.20




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                          page 8
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     Debtor 1     Jarett Maurice Clark
     Debtor 2     Rahni Mon'a Clark                                                                            Case number (if known)



        36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
            For more information, go online using the link for Bankruptcy Basics specified in the separate
            instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

                  No.    Go to line 37.
                  Yes. Fill in the following information.
                         Projected monthly plan payment if you were filing under Chapter 13                        $                 471.11
                         Current multiplier for your district as stated on the list issued by the
                         Administrative Office of the United States Courts (for districts in Alabama
                         and North Carolina) or by the Executive Office for United States Trustees
                         (for all other districts).                                                               X               7.20

                         To find a list of district multipliers that includes your district, go online using
                         the link specified in the separate instructions for this form. This list may also
                         be available at the bankruptcy clerk’s office.
                                                                                                                                                 Copy total
                         Average monthly administrative expense if you were filing under Chapter 13                    $           33.92         here=> $                     33.92



        37. Add all of the deductions for debt payment.                                                                                                           $      505.03
            Add lines 33e through 36.

        Total Deductions from Income

        38. Add all of the allowed deductions.
                Copy line 24, All of the expenses allowed under IRS
                expense allowances                                                      $            7,494.11
                Copy line 32, All of the additional expense deductions                  $               889.01
                Copy line 37, All of the deductions for debt payment                   +$               505.03


                                                                    Total deductions    $            8,888.15              Copy total here...........=>       $           8,888.15


     Part 3:        Determine Whether There is a Presumption of Abuse

        39. Calculate monthly disposable income for 60 months
                39a. Copy line 4, adjusted current monthly income                       $            9,376.98
                39b. Copy line 38,Total deductions                                     -$            8,888.15

                39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                     Copy
                     Subtract line 39b from line 39a                                    $               488.83             here=>$                        488.83


                For the next 60 months (5 years)                                                                                          x 60

                                                                                                                                         Copy
                39d. Total. Multiply line 39c by 60                                         39d.    $              29,329.80             here=>           $           29,329.80


        40. Find out whether there is a presumption of abuse. Check the box that applies:

                  The line 39d is less than $7,700*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.

                  The line 39d is more than $12,850*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill out
                  Part 4 if you claim special circumstances. Go to Part 5.

                  The line 39d is at least $7,700*, but not more than $12,850*. Go to line 41.

            *Subject to adjustment on 4/01/19, and every 3 years after that for cases filed on or after the date of adjustment.




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                                    page 9
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     Debtor 1     Jarett Maurice Clark
     Debtor 2     Rahni Mon'a Clark                                                                                                  Case number (if known)




        41.       41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out
                       A Summary of Your Assets and Liabilities and Certain Statistical Information
                       Schedules (Official Form 106Sum), you may refer to line 3b on that form.                                               $
                                                                                                                                                  x    .25
                                                                                                                                                                   Copy
                  41b. 25% or your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I)                                           $                    here=>   $
                         Multiply line 41a by 0.25.....................................................................................

        42. Determine whether the income you have left over after subtracting all allowed deductions is enough to pay
            25% of your unsecured, nonpriority debt.
            Check the box that applies:

                  Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
                  Go to Part 5.

                  Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a
                  presumption of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


     Part 4:        Give Details About Special Circumstances

     43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
         reasonable alternative? 11 U.S.C. § 707(b)(2)(B).


                No. Go to Part 5.

                Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment for each
                     item. You may include expenses you listed in line 25.

                     You must give a detailed explanation of the special circumstances that make the expenses or income adjustments
                     necessary and reasonable. You must also give your case trustee documentation of your actual expenses or income
                     adjustments.



                      Give a detailed explanation of the special circumstances                                                       Average monthly expense
                                                                                                                                     or income adjustment

                      -Additional Future Med. Expenses                                                                                    $                   500.00

                      -Debtor's income very likely to decrease                                                                            $
                      (Recently diagnosed w/lung cancer,                                                                                  $
                      kidney issues, cardiac disease)                                                                                     $


     Part 5:        Sign Below
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                 X /s/ Jarett Maurice Clark                                                                     X /s/ Rahni Mon'a Clark
                     Jarett Maurice Clark                                                                            Rahni Mon'a Clark
                     Signature of Debtor 1                                                                           Signature of Debtor 2
              Date April 11, 2019                                                                           Date April 11, 2019
                   MM / DD / YYYY                                                                                MM / DD / YYYY




    Official Form 122A-2                                                           Chapter 7 Means Test Calculation                                                                    page 10
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     Debtor 1    Jarett Maurice Clark
     Debtor 2    Rahni Mon'a Clark                                                                      Case number (if known)




                                                       Current Monthly Income Details for the Debtor

    Debtor Income Details:
    Income for the Period 10/01/2018 to 03/31/2019.

    Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
    Source of Income: Apple Inc
    Income by Month:
     6 Months Ago:                                    10/2018                   $4,585.15
     5 Months Ago:                                    11/2018                   $7,658.71
     4 Months Ago:                                    12/2018                   $5,594.71
     3 Months Ago:                                    01/2019                   $8,101.34
     2 Months Ago:                                    02/2019                   $3,617.35
     Last Month:                                      03/2019                   $3,851.84
                                     Average per month:                         $5,568.18




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                               page 11
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     Debtor 1    Jarett Maurice Clark
     Debtor 2    Rahni Mon'a Clark                                                                      Case number (if known)


                                               Current Monthly Income Details for the Debtor's Spouse

    Spouse Income Details:
    Income for the Period 10/01/2018 to 03/31/2019.

    Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
    Source of Income: Sutter Valley Hospitals
    Income by Month:
     6 Months Ago:                                    10/2018                   $2,644.15
     5 Months Ago:                                    11/2018                   $3,527.23
     4 Months Ago:                                    12/2018                   $3,922.25
     3 Months Ago:                                    01/2019                   $4,532.70
     2 Months Ago:                                    02/2019                   $3,169.80
     Last Month:                                      03/2019                   $5,056.64
                                     Average per month:                         $3,808.80




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                               page 12
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    Notice Required by 11 U.S.C. § 342(b) for
    Individuals Filing for Bankruptcy (Form 2010)


                                                                                              Chapter 7:         Liquidation
     This notice is for you if:
                                                                                                      $245      filing fee
            You are an individual filing for bankruptcy,
            and                                                                                        $75   administrative fee

            Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
            Consumer debts are defined in 11 U.S.C.
            § 101(8) as “incurred by an individual                                                    $335      total fee
            primarily for a personal, family, or
            household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                              difficulty preventing them from paying their debts
                                                                                              and who are willing to allow their nonexempt
     The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
     individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                              your debts discharged. The bankruptcy discharge
     Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
     one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                              for particular debts, and liens on property may still
            Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                              may have the right to foreclose a home mortgage or
            Chapter 11 - Reorganization                                                       repossess an automobile.

            Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                       for family farmers or                                                  certain kinds of improper conduct described in the
                       fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                              discharge.
            Chapter 13 - Voluntary repayment plan
                       for individuals with regular                                           You should know that even if you file chapter 7 and
                       income                                                                 you receive a discharge, some debts are not
                                                                                              discharged under the law. Therefore, you may still
                                                                                              be responsible to pay:
     You should have an attorney review your
     decision to file for bankruptcy and the choice of                                            most taxes;
     chapter.
                                                                                                  most student loans;

                                                                                                  domestic support and property settlement
                                                                                                  obligations;




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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            most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
            restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                              results of the Means Test, the U.S. trustee, bankruptcy
            certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
            papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                              motion is filed, the court will decide if your case should
     You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                              proceed under another chapter of the Bankruptcy
            fraud or theft;                                                                   Code.

            fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
            fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                              subject to your right to exempt the property or a portion
            intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                              property, and the proceeds from property that your
            death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
            motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
            from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                              household items or to receive some of the proceeds if
     If your debts are primarily consumer debts, the court                                    the property is sold.
     can dismiss your chapter 7 case if it finds that you have
     enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
     You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
     Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
     individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
     form will determine your current monthly income and                                      proceeds to your creditors.
     compare whether your income is more than the median
     income that applies in your state.

     If your income is not above the median for your state,
     you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
     the Chapter 7 Means Test Calculation (Official Form
     122A–2).
                                                                                                          $1,167    filing fee
     If your income is above the median for your state, you
     must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
     Calculation (Official Form 122A–2). The calculations on
                                                                                                          $1,717    total fee
     the form— sometimes called the Means Test—deduct
     from your income living expenses and payments on
                                                                                              Chapter 11 is often used for reorganizing a business,
     certain debts to determine any amount available to pay
                                                                                              but is also available to individuals. The provisions of
     unsecured creditors. If
                                                                                              chapter 11 are too complicated to summarize briefly.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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            Read These Important Warnings

                 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
                 your property, you should hire an attorney and carefully consider all of your options before you file.
                 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
                 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
                 properly and protect you, your family, your home, and your possessions.

                 Although the law allows you to represent yourself in bankruptcy court, you should understand that
                 many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
                 or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
                 following all of the legal requirements.

                 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
                 necessary documents.

                 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
                 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
                 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
                 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                              Under chapter 13, you must file with the court a plan
     Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
                 farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                              the court approves your plan, the court will allow you
                                                                                              to repay your debts, as adjusted by the plan, within 3
                       $200        filing fee                                                 years or 5 years, depending on your income and other
     +                  $75        administrative fee                                         factors.
                       $275        total fee
                                                                                              After you make all the payments under your plan,
     Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
     and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
     using future earnings and to discharge some debts that                                   pay include:
     are not paid.
                                                                                                     domestic support obligations,

                                                                                                     most student loans,
     Chapter 13: Repayment plan for
                 individuals with regular                                                            certain taxes,
                 income
                                                                                                     debts for fraud or theft,

                       $235        filing fee                                                        debts for fraud or defalcation while acting in a
     +                  $75        administrative fee                                                fiduciary capacity,
                       $310        total fee
                                                                                                     most criminal fines and restitution obligations,
     Chapter 13 is for individuals who have regular income
     and would like to pay all or part of their debts in                                             certain debts that are not listed in your
     installments over a period of time and to discharge                                             bankruptcy papers,
     some debts that are not paid. You are eligible for
     chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
     dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                     certain long-term secured debts.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                              A married couple may file a bankruptcy case
                   Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                              each spouse lists the same mailing address on the
     Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
     you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
     creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
     general financial condition. The court may dismiss your                                  each spouse receive separate copies.
     bankruptcy case if you do not file this information within
     the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
     Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

     For more information about the documents and                                             The law generally requires that you receive a credit
     their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
     http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
     s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                              limited exceptions, you must receive it within the 180
                                                                                              days before you file your bankruptcy petition. This
     Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                              Internet.
            If you knowingly and fraudulently conceal assets
            or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
            of perjury—either orally or in writing—in                                         must complete a financial management instructional
            connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
            fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                              course.
            All information you supply in connection with a
            bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
            Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
            U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
            other offices and employees of the U.S.                                           .
            Department of Justice.
                                                                                              In Alabama and North Carolina, go to:
     Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                              BankruptcyResources/ApprovedCredit
     The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
     address you list on Voluntary Petition for Individuals
     Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
     that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
     Bankruptcy Rule 4002 requires that you notify the court                                  the list.
     of any changes in your address.




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    B2030 (Form 2030) (12/15)
                                                                   United States Bankruptcy Court
                                                                         Eastern District of California
                 Jarett Maurice Clark
     In re       Rahni Mon'a Clark                                                                                Case No.
                                                                                      Debtor(s)                   Chapter       7

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
    1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
           compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
           be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                 For legal services, I have agreed to accept                                                  $                     2,090.00
                 Prior to the filing of this statement I have received                                        $                     2,090.00
                 Balance Due                                                                                  $                         0.00

    2.     $    335.00        of the filing fee has been paid.

    3.     The source of the compensation paid to me was:

                      Debtor                  Other (specify):

    4.     The source of compensation to be paid to me is:

                      Debtor                  Other (specify):

    5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

    6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

           a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
           b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
           c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
           d.   [Other provisions as needed]


    7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                   Representation of the debtor(s) in any dischargeability action or any other adversary proceeding;
                                                                               CERTIFICATION
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
     this bankruptcy proceeding.

         April 11, 2019                                                               /s/ Ashley R. Amerio
         Date                                                                         Ashley R. Amerio
                                                                                      Signature of Attorney
                                                                                      Amerio Law Firm, PC
                                                                                      1640 Lead Hill Blvd, Suite 220
                                                                                      Roseville, CA 95661
                                                                                      916 419-1111 Fax: 916 649-1747
                                                                                      bankruptcy@ameriolaw.com
                                                                                      Name of law firm




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                                Ashlyn Furniture
                                8585 Elk Grove Blvd
                                Elk Grove CA 95624


                                AT&T
                                PO Box 5014
                                Carol Stream IL 60197


                                AWA Collections
                                PO Box 6605
                                Orange CA 92863


                                BBVA
                                P.O. Box 830606
                                Birmingham AL 35283


                                California Auto Finance
                                5255 E. Hunter Ave
                                Anaheim CA 92807


                                California Auto Finance
                                P.O. Box 68003
                                Anaheim CA 92817


                                CBE Group
                                1309 Technology Pkwy
                                Cedar Falls IA 50613


                                Comcast Cable Communications
                                841 E. Hunting Park Ave.
                                Philadelphia PA 19124-4800


                                Consolidated Communications
                                PO Box 619969
                                Roseville CA 95661


                                CORNERSTONE/DEPT OF E
                                PO BOX 61047
                                Harrisburg PA 17106


                                Credit Control Service
                                725 CANTON ST
                                Norwood MA 02062
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                                Dept of ED/Navient
                                PO BOX 9635
                                Wilkes Barre PA 18773


                                Dignity Health
                                PO Box 745876
                                Los Angeles CA 90076


                                EDD State of California
                                Attn: Cashier Benefit Recovery
                                P.O. Box 826806
                                Sacramento CA 94206


                                Employment Development Department
                                PO Box 826806
                                Sacramento CA 94206


                                Empower Retirement
                                PO Box 173764
                                Denver CO 80217


                                Enhanced Recovery
                                8014 Bayberry Rd.
                                Jacksonville FL 32256


                                Enhanced Recovery Company LLC
                                8014 Bayberry Road
                                Jacksonville FL 32256-7412


                                First Credit Services,Inc.
                                377 Hoes Lane, Suite 200
                                Piscataway NJ 08854


                                First Premier Bank
                                601 S Minnesota Ave
                                Sioux Falls SD 57104


                                Franchise Tax Board
                                Bankruptcy Section MS A-340
                                PO Box 2952
                                Sacramento CA 95812-2952


                                FREEWAY FUNDING INC
                                3601 CALLE TECATE STE 20
                                Camarillo CA 93012
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                                Internal Revenue Service
                                PO Box 7346
                                Philadelphia PA 19101-7346


                                J&L Teamworks
                                651 N Cherokee Ln.
                                Lodi CA 95240


                                Jarett & Rahni Clark



                                JPMorgan Chase Bank , N.A.
                                1111 Polaris Parkway
                                Columbus OH 43240


                                Lobel Financial Corp.
                                PO BOX 3000
                                Anaheim CA 92803


                                Matrix Funding
                                649 W Elkhorn Blvd
                                Rio Linda CA 95673


                                Medical Payment Data
                                3620 I 70 Drive, Suite C
                                Columbia MO 65201


                                Methodist Hospital
                                PO BOX 60000
                                San Francisco CA 94160


                                National Business Fact
                                969 Mica Drive
                                Carson City NV 89705


                                Northland Group, Inc.
                                P.O. Box 390846
                                Minneapolis MN 55439


                                Nowcom/Rudolph Inc.
                                737 Southpoint Blvd.
                                Petaluma CA 94954
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                                Pacific Credit Exchange
                                15760 Ventura Blvd Ste A
                                Encino CA 91436


                                PG&E
                                P.O. Box 997300
                                Sacramento CA 95899


                                Progressive
                                3645 San Marco Drive
                                Stockton CA 95212


                                Southern Hills Acceptance
                                PO BOX 25570
                                Santa Ana CA 92799


                                Sutter Health
                                PO Box 255228
                                Sacramento CA 95865


                                Titan Revenue Solution
                                942 Enterprise Drive - Ste C
                                Sacramento CA 95825


                                Transworld Systems Inc.
                                507 Prudential Road
                                Horsham PA 19044


                                Two Jinn, Inc dba Aladdin Bail Bonds
                                910 11st Street
                                Modesto CA 95354


                                United States Attorney
                                For Internal Revenue Service
                                501 I St. Ste. 10-100
                                Sacramento CA 95814


                                United States Attorney
                                For Internal Revenue Service
                                2500 Tulare St., Ste. 4401
                                Fresno CA 93721
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                                United States Department of Justice
                                Civil Trial Section Western Region
                                Box 683 Ben Franklin Station
                                Washington DC 20044


                                Vehicle Registration Collections
                                Franchise Tax Board
                                PO BOX 419001
                                Rancho Cordova CA 95741


                                WF CRD SVC
                                PO Box 14517
                                Des Moines IA 50306
